                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION



    XIONGEN JIAO, an individual, QIANJU                       SECOND AMENDED VERIFIED
    JIAO, an individual, ZHONGHUA YU, an                      COMPLAINT AND AMENDED
    individual, JIATONG YU, an individual,                    APPLICATION TO REINSTATE
    PENGFEI ZHOU, an individual, XUANMEI
                                                              TEMPORARY RESTRAINING ORDER,
    ZHOU, an individual,
                                                              PRELIMINARY INJUNCTION
          Plaintiffs,                                         INCLUDING THE APPOINTMENT OF
                                                              A RECEIVER FOR DONGTAI AND
    vs.                                                       APPLICATION FOR TEMPORARY
                                                              RESTRAINING ORDER,
    NINGBO XU, an individual, and LCL                         PRELIMINARY INJUNCTION
    COMPANY LLC, a Texas limited liability
                                                              INCLUDING THE APPOINTMENT OF
    company.
                                                              A RECEIVER FOR DONGTAI, AND
           Defendants,                                        PERMANENT INJUNCTION

    And                                                    (Expedited Briefing and Hearing Requested)

    DONGTAI INVESTMENT GROUP, LLC, a                           Case No.: 4:19-cv-01848
    Texas Limited Liability Company
                                                               Judge: Hon. Keith P. Ellison
           Nominal Defendant



          Plaintiffs Xiongen Jiao (“XJ”), Qianju Jiao (“Jiao”), Zhonghua Yu (“ZY”), Jiatong Yu

(“Yu”), Pengfei Zhou (“PZ”), and Xuanmei Zhou (“Zhou”)1 by and through their attorneys, hereby

file this Second Amended Verified Complaint2 by right and Amended Application to Reinstate the

Temporary Restraining Order, Preliminary Injunction including the Appointment of a Temporary

1
 The individual Plaintiffs also bring their claims derivatively on behalf and for the benefit of Dongtai.
2
  This action is initiated as a permissible re-filing of Jiao v. Xu, Case Number 4:18-cv-04756 due to the Court’s
dismissal of Plaintiffs’ Second Amended Verified Complaint.
Receiver for Dongtai3, and a new Amended Application for Temporary Restraining Order,

Preliminary Injunction including the Appointment of a Temporary Receiver for Dongtai and for

Permanent Injunction against Defendants Ningbo Xu (“Xu”), LCL Company LLC (“LCL”), and

Dongtai Investment Group (“Dongtai”) (nominal defendant) and alleges as follows:

                                             INTRODUCTION

        This matter which involves claims and the need for immediate injunctive relief are the

direct result of Defendants Xu and LCL’s conduct arising out of Xu’s theft of funds, violation of

federal securities law, fraud, fraudulent concealment, conversion of Dongtai’s and Plaintiffs’

funds, and gross mismanagement of Dongtai’s business operations including but not limited to the

joint venture and investment in the Crowne Plaza Hotel located at 9090 Southwest Freeway

Houston TX 77049 (the “Crowne Plaza Hotel” or the “Hotel”).

        Xu was, at all relevant times, the President and sole Managing Member of Dongtai and

purportedly owned 50% of the member units in Dongtai. Xu is also the sole owner of LCL.

Dongtai is a limited liability corporation formed under the laws of the State of Texas. Dongtai’s

original members of record are Plaintiffs XJ, ZY, and PZ.

        As Dongtai’s corporate records and American Title Company of Houston’s (“ATOC”)

records demonstrate, Xu did not pay $3,000,000 for his 50% of Dongtai’s member units as he

agreed to do under the Parties’ agreements. Xu only contributed $750,000.00 ($2.25 million short)

while misappropriating $1,335,561.97. In other words, although Xu paid $750,000.00, he took

the $750,000.00 back (and then some) and effectively nullified any “partial performance” he may

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  In matter number 4:18-cv-04756, Plaintiffs’ Application for Temporary Restraining Order, Preliminary Injunction
including the Appointment of a Temporary Receiver for Dongtai, and Permanent Injunction requested and filed in
conjunction with the Original Verified Complaint [Doc. Nos. 1 and 2] was granted by the Court on December 20,
2018 [Doc. Nos. 7-9].

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have made. Thus, Xu is not a shareholder of Dongtai as he failed to pay for his shares and

defrauded Plaintiffs into believing he had by providing them with a falsified HUD closing

document.

        Xu fraudulently induced the original members, Chinese foreign investors, into purchasing

securities in Dongtai and investing in the purchase of the Crowne Plaza Hotel. Xu made numerous

material misrepresentations and/or omissions that Xu did knowingly or with deliberate

recklessness and for the purpose and effect of concealing information regarding Dongtai and the

Crowne Plaza purchase’s true status as a façade and vehicle for a massive fraud and conversion to

benefit Xu. As a result of Xu’s fraudulent actions, Plaintiffs were duped into purchasing Dongtai

member units via wire transfers from China and the Crowne Plaza Hotel.

        On January 6, 2017, Xu, through his limited liability company, LCL, entered into a joint

venture with Plaintiffs Jiao, Yu, and Zhou4 to acquire and operate the Crowne Plaza Hotel. It was

agreed that Dongtai would have 100% ownership of the Crowne Plaza Hotel. Moreover, on

January 6, 2017, Xu, as Dongtai’s President and sole Managing Member entered into a contract

with the Crowne Plaza Hotel’s then-current owner to purchase the Hotel for Dongtai.

        As Defendants have stolen and looted the funds and financial accounts of Dongtai and

those associated with the joint venture including, but not limited to, the funds utilized to operate

and fund the Crowne Plaza Hotel’s operations, their actions have gravely jeopardized Plaintiffs’

investment and ownership interests in the Crowne Plaza Hotel. Notably, due to Defendants’

willful and purposeful acts, the Crowne Plaza Hotel had not paid expenses vital to its operations



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 Although Zhonghong, Xingxu, and Pengrui are mentioned in the Joint Venture Agreement, they are not and cannot
be parties to the agreement as they were not in existence yet and are not members of Dongtai. See Ex. “3”

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including but not limited to the license fee for the right to use the Crowne Plaza brand which was

to terminate on or about January 7, 2019 unless payment had been made. In addition, to losing the

Crowne Plaza brand due to Xu and LCL’s willful conduct, the Crowne Plaza Hotel is on the verge

of defaulting on its loan and payroll obligations.

       After receiving reports that Xu’s conduct was potentially harming Dongtai and

jeopardizing the Hotel’s operations, Plaintiffs insisted that Dongtai obtain an audit of its corporate

books and records to further investigate. On Sunday, December 2, 2018, Plaintiffs learned that

InterContinental Hotels Group ("IHG") sent Dongtai correspondence stating that because Dongtai

failed to pay the Crowne Plaza brand fees on a quarterly basis as agreed to under the Parties’

written agreement, Dongtai breached its agreement with IHG by failing to pay the licensing fee of

$180,000 which was grossly overdue. As a direct result of Defendants’ breach of fiduciary and

managerial duties to Plaintiffs as well as Defendants’ gross negligence, IHG issued an ultimatum

stating that unless the $180,000 fee is paid in full by January 7, 2019, the License to use the Crowne

Plaza brand will be terminated immediately and the Hotel will be removed from the Crowne Plaza

system on the termination date.

       As this along with other recent developments gravely jeopardized Plaintiffs’ capital

investments and equity in Dongtai as well as the joint venture, on December 7, 2018, Plaintiffs’

counsel wrote to Xu demanding that Xu immediately: 1) provide to the shareholders a written

explanation as to: a) why the shareholders were not notified in advance of Defendants’ failure to

pay the license fee; b) why was the license fee not timely paid; c) why Dongtai did not have the

money to pay for the license fee; d) why did the shareholders received no dividend from their

investment; and e) an explanation for the lack of money in the company's accounts to cover normal


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expenses; and 2) That Xu tender full payment of the outstanding license fees to IHG on or before

Monday, December 10, 2018. Xu responded by immediately stopping the audit in order to conceal

evidence of his wrongdoing.

       Along with filing a Verified Complaint in Jiao v. Xu, Case Number 4:18-cv-04756,

Plaintiffs moved for an immediate order of the Court under Rules 64, 65 and 66 of the FED. R. CIV.

P., Chapter 64 of the TEX. CIV. PRAC. & REM. CODE, and TEX. BUS. & COM. CODE § 24.008: 1) to

allow Plaintiffs to inspect Dongtai’s corporate records and books and obtain an independent audit

to determine the harm Defendants have inflicted upon Dongtai in order to prevent further and

irreparable harm; 2) remove Xu as President and Managing Member of Dongtai and/or suspend

and remove LCL’s and Xu’s management authority and ability regarding the affairs of the joint

venture; 3) freeze and seize/attach to LCL’s bank accounts; 4) freeze and seize and/or attach Xu’s

and Dongtai’s bank accounts; 5) appoint a temporary receiver for Dongtai to manage its operations

and affairs and appoint or elect a new President and Managing Member; 6) compel Defendants via

a constructive trust from the funds seized to return whatever funds they took from Dongtai and the

Joint Venture; and 7) compel Xu and/or LCL via a constructive trust from the funds seized to pay

any outstanding obligations (including the license fee and associated costs) to avoid the shutdown

of the Crowne Plaza Hotel. [4:18-cv-04756-Doc. No. 2]. The Court granted Plaintiffs’ motion for

immediate injunctive relief. [4:18-cv-04756-Doc. No. 7] and thus allowed Plaintiffs to avert

disaster for the time being.

       As Defendants could not directly challenge the Court’s Preliminary Injunction Order,

Defendants in a clear attempt to dissolve the Preliminary Injunction in order to enable Xu to take,

run, and hide with Plaintiffs’ money, Xu was able to get the Plaintiffs’ action in matter number


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4:18-cv-04756 dismissed on technical grounds as at the time of the original filing Plaintiffs did not

have sufficient evidence for a federal securities claim. However, recent evidence has come to light

including Plaintiffs’ obtainment and review of ATOH’s records that Xu did not pay for his member

units (that Xu never intended to given his actions) and that Xu may have conspired with the closing

agent ATOC to hide this fact as Xu provided Plaintiffs with a fake HUD-Settlement Statement.

Additionally, recent evidence has come to light that Xu took and embezzled Dongtai’s property

tax refund of over $28,000.00.

       Plaintiffs also demand compensation in excess of $1,500,000.00.

                                            PARTIES

       1.      Defendant Xu was at all relevant times the President and sole Managing Member

of Dongtai and purportedly owns 50% member units in Dongtai. Xu also is the owner and operator

of LCL. Xu is a resident of the State of Texas and his residential address is 1810 Alcorn Bayou

Dr., Sugar Land TX 77479.

       2.      Defendant LCL is a limited liability corporation formed under the laws of the State

of Texas. Ex. "33." Xu is the registered agent for LCL and LCL is owned by Xu and Hao Lu. Id.

LCL is a member of the joint venture involving the Crowne Plaza Hotel.

       3.      Dongtai is a limited liability corporation formed under the laws of the State of

Texas. Dongtai's original members of record are Xu, XJ, ZY, and PZ. Collectively they were

own/owned 100% of the LLC's member units. Under the joint venture agreement, Dongtai has

100% ownership of the Crowne Plaza Hotel.




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       4.     Plaintiff XJ is an individual residing in China and specifically at 91 Huancheng

North Road, Shaoyang Hunan CN 422200. XJ is and/or was a member of the LLC and owns

and/or owned 16.66% member units in exchange for his capital contribution of $1,000,000.00.

       5.     Plaintiff Jiao is XJ's son and is an individual residing in China and specifically at

791 Huancheng North Road, Shaoyang Hunan CN 422200.              Jiao is Dongtai's Treasurer. XJ

designated Jiao as his agent to manage and protect XJ's interest in Dongtai. XJ assigned and/or

transferred his LLC member units to Jiao.

       6.     Plaintiff ZY is an individual residing in China and specifically at 113-1 Taohong

Middle Road, Shaoyang Hunan CN 422200. ZY is and/or was a member of the LLC and owns

and/or owned 16.66% member units in exchange for his capital contribution of $1,000,000.00.

       7.     Plaintiff Yu is ZY's son and is an individual residing in China and specifically at

113-1 Taohong Middle Road, Shaoyang Hunan CN 422200. Yu is the Dongtai's Secretary. ZY

designated Yu as his agent to manage and protect ZY's interest in Dongtai. Upon information and

belief, ZY assigned and/or transferred his LLC member units to Yu.

       8.     Plaintiff PZ is an individual residing in China and specifically at 569 Furong Middle

Roa Building No.17 Yuhua District, Changsha Hunan 410007. PZ is and/or was a member of

the LLC and owns and/or owned 16.66% member units in exchange for his capital contribution of

$1,000,000.00.

       9.     Plaintiff Zhou is PZ's spouse and is an individual residing in China and specifically

at 69 Furong Middle Road Building No.17 Yuhua District, Changsha Hunan 410007.                 PZ

designated Zhou as his agent to manage and protect PZ's interest in Dongtai. Upon information

and belief, PZ assigned and/or transferred his LLC member units to Zhou.


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                                JURISDICTION AND VENUE

       10.     This action involves, among other things, securities law and common law fraud,

breach of contract, and breach of fiduciary duty that was perpetrated on Plaintiffs to obtain each

of their investments and money for Defendants to steal, embezzle and convert.

       11.     Plaintiffs are foreign Chinese nationals that were fraudulently induced to each

invest millions of dollars via wire transfers from China of member units of Dongtai (a company

Xu during all relevant times had control over as the President and sole Managing Member) based

on material misrepresentations made by Xu.

       12.     Some of the claims asserted herein arise under Sections 10(b) of the Exchange Act,

and Rule 10b-5 promulgated thereunder by the SEC, 17 C.F.R. §240.10b-5.

       13.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§1331 and Section 27 of the Exchange Act, 15 U.S.C. §78aa

       14.     This Court also has jurisdiction over the state-law claims asserted herein via

supplemental jurisdiction. 28 U.S.C. § 1367(a) as these claims are derived from Xu’s fraudulent

scheme to induce Plaintiffs into purchasing Dongtai’s member units.

       15.     In connection with the conduct alleged herein, Defendants, directly or indirectly,

used the means and instrumentalities of interstate commerce, including but not limited to the

United States mails and interstate communications.

       16.     This Court has personal jurisdiction over the Defendants as they are Texas residents

and their acts and/or omissions occurred in Texas.




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       17.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) as the Defendants

are either incorporated in Harris County, Texas or reside in Fort Bend County, Texas and because

the act and/or omissions occurred in Harris County, Texas.

       18.     As this matter involves claims and questions under federal and Texas law, both

jurisdiction and venue in in the Southern District of Texas are appropriate and proper.

                                      ALLEGATIONS OF FACT

       A. Background Information

       19.     On or about December 15, 2016, Dongtai Investment Group, LLC is formed by Xu,

XJ, ZY, and PZ.

       20.     On or before January 6, 2017: 1) XJ designated Jiao as his agent to manage and

protect XJ's interest in Dongtai (Jiao Declaration ¶ 2); ZY designated Yu as his agent to manage

and protect ZY's interest in Dongtai; and 3) PZ designated Zhou as his agent to manage and protect

PZ's interest in Dongtai.

       21.     Moreover: 1) XJ assigned and/or transferred his Dongtai member units to Jiao (Jiao

Declaration ¶ 2); 2) ZY assigned and/or transferred his Dongtai member units to Yu; and 3) PZ

assigned and/or transferred his Dongtai member units to Zhou. Ex. “5.”

       22.     These assignments/transfers were ratified by Xu (who purportly owned 50% of

Dongtai) as Dongtai’s President and sole Managing Member.

       23.     Xu has multiple businesses and companies which are not associated with Dongtai.

Ex. 32. These include World Auto Direct; Drive with Pride; Alkins; A, P&G; Yalu Group; Scott

Investment; and Sweet Water Investment. Id. As demonstrated herein, Xu improperly and without

authorization transferred Dongtai and Plaintiffs’ funds to these companies for his own personal


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use. Indeed, Xu induced Plaintiffs to purchase Dongtai shares so Xu could fund his own private

enterprises.

        24.       On January 6, 2017, LCL and its representative Xu, Yu, Jiao, Zhou, and Dongtai

and its lawful shareholders and investors executed a Joint Venture M&A and Operation of the

Crowne Plaza Hotel Agreement. Ex. "2" (the “Joint Venture Agreement”).

        25.       As set forth in the Joint Venture Agreement: 1) Xu fully guaranteed the loan amount

used to purchase the Hotel; 2) Xu agreed once a month to pay the Plaintiffs dividends in the ratio

of 16% each; 3) Plaintiffs each must pay Xu $10,000.00 each for a guarantee fee and Plaintiffs

must each pay Xu $10,000.00 for salary; 4) Xu enjoys the controlling stake and hotel management

in the final decision-making rights serving as the Hotel’s chairman and in sole charge of all hotel

operations; 5) that Dongtai will set up an account under the Hotel’s name; 6) that for more than

$200 of Dongtai account expenditure, approval for said expenditure must be signed by both Xu

and Zou Lingli; and 7) that the Hotel operator shall utilize the funds held in the Hotel’s account

(which is 100% owned by Dongtai) to maintain the daily operation of the Hotel and related

facilities. Id.

        26.       Also on January 6, 2017, Xu, as Dongtai's President and Managing Member entered

into a contract with the then-current owner of the Crowne Plaza Hotel to purchase the Hotel for

Dongtai. Ex. "1."

        27.       Subsequently, Dongtai established two bank accounts with Golden Bank: 1) an

operating account for the Hotel and 2) an account for the Hotel closing which after the closing

became Dongtai’s operating account. Jiao Declaration ¶ 9; see generally Ex. “11.” Moreover,




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Dongtai also established an account with Bank of America for the Hotel’s restaurant revenue.

Plaintiffs do not have access to the Bank of America account. Id.

       28.     On or about March 4, 2017, Michael Udayan (“Udayan”) and American Hospitality

Group, LLC entered into a Hotel Management Agreement with Dongtai. Ex. “30.”

       29.     The agreement calls for Udayan and American Hospitality to: 1) use best efforts in

managing and operating the Hotel; 2) respond to and act upon concerns and issues raised by

Dongtai; 3) manage the Hotel in accordance with the Franchise Agreement; 4) apply for and use

its best efforts to obtain and maintain all licenses; 5) maintain the Hotel records accurately in a

timely fashion; 6) be responsible for the maintenance and repair of the Hotel; 7) comply with all

statutes, laws and regulations and operate the Hotel lawfully; 8) timely respond and address Guest

complaints; 9) comply with the Annual Plan as approved by Dongtai and shall not incur any

substantial expense not set forth in the annual plan; 10) will disburse funds on Dongtai’s behalf

from the Hotel’s accounts as required to operate the Hotel including payment of franchise fees;

and 11) provide the Hotel’s financial statements to Dongtai. Id.

       B. Plaintiffs are Fraudulently Induced to Invest in Dongtai

       30.     Prior to December 15, 2016, Xu communicated via instrumentalities of interstate

commerce including but not limited to emails, texts, written correspondences, and discussions via

the App WeChat numerous representations and promises which turned out to be false.

       31.     In the spring 2016, Xu and XJ were introduced to one another by one of XJ’s

business partners in China as both Xu and XJ are from the same city Shaoyang in China.

       32.     At that time, Xu represented to XJ, he is well-educated having received a

Bachelor’s degree from the University of Xiamen and a Master’s degree in Finance from


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University of Washington. Xu also represented that he was working at Yao Ming’s Foundation

and that he was a master at investing and financing. Xu also represented that he had earned an

outstanding reputation in the Chinese communities in the greater Houston area.

       33.     On or about May 8, 2016, Xu approached XJ having learned from XJ’s business

partner that XJ was interested to make investments in the United States. As a result, Xu invited

XJ father and Jiao to Houston to discuss potential business opportunities and investments in

Houston.

       34.     Later that month, XJ and Jiao flew to Houston to meet with Xu.

       35.     Xu serving as a broker introduced XJ and Jiao to a business man named Nick

Massad (“Massad”) and Massad’s family. At that time, Massad was the potential buyer of the

Crowne Plaza Hotel acquisition project.     XJ and Jiao met with Masssad and they discussed

investment in the Crowne Plaza Hotel, future operational plans for the Hotel, investment and

payback timeline schedules, and that the Massad family would personally guarantee a loan for the

acquisition.

       36.     Xu represented to XJ and Jiao at that time he had experience in investing and

operating hotels. However, this turned out not to be true, as Massad was the one who actually had

plentiful experience in operating and owning multiple hotels in Texas.

       37.     XJ and Jiao told Massad and Xu that they needed to think about Massad’s proposal

and to figure out how to finance the project if they desired to move forward.

       38.     From May 2016 to October 2016, Xu kept in regular contact with XJ via WeChat

and telephone. Moreover, during this same time period, Xu was introduced to ZY, and PZ and




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Xu. Xu, XJ, ZY, and PZ primarily communicated in a private WeChat group while Xu was in

Houston and XJ, ZY, and PZ were in China.

       39.     In October 2016, Xu met with XJ, ZY, and PZ to further discuss the investment

into the Hotel. During this meeting, Xu informed XJ, ZY, and PZ that Nick Massad Family's

business got in trouble, and as such, they were out of the picture.

       40.     Xu then informed XJ, ZY, and PZ that given his plentiful experience in operating

and owning hotel, Xu could take Massad’s place and guaranteed he could get the loan necessary

to close the deal. Xu told XJ, ZY, and PZ that this was a good project and guaranteed investment

for which they will make over one million dollars a year. Xu also guaranteed to XJ, ZY, and PZ

that they would be paid back their investment principal in five years

       41.     From October 2016 to December 2016, Xu regularly communicated with XJ, ZY,

and PZ via WeChat and telephone. In these communications, Xu made numerous representations

to XJ, ZY, and PZ to induce and entice them to invest.

       42.     Prior to forming Dongtai (from May 2016 to December 2016) Xu made many

material representations to XJ, ZY, and PZ to induce them to invest and form Dongtai. From May

2016 to December 2016, Xu communicated to XJ, ZY, PZ, Jiao via in-person, telephone, mail,

email, and/or the App WeChat may promises and assurances including, but not limited to: a) Xu

had plentiful experience in operating and owning hotels; b) the proposal for funding Dongtai

through each members’ purchase of member units; c) Xu would contribute $3,000,000 as his

capital contribution in exchange for 50% stake in the LLC; d) Dongtai’s profits would be

distributed on a pro rata basis; e) that Dongtai’s funds would be used solely for Dongtai’s business

purpose in purchasing and operating the Crowne Plaza Hotel; f) that XJ, ZY, and PZ’s investments


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were guaranteed as was their return on investment of being $1,000,000 or more; g) that XJ, ZY,

and PZ were guaranteed they would make back their principal in five years; and h) that as President

and sole Managing Member, Xu would carry out his duties as delineated in the Bylaws (Ex. “4”)

including but not limited to ensuring that Dongtai’s financial obligations were timely satisfied to

avoid defaults and filing accurate and timely tax returns for the company.

       43.     Xu knowingly made these false promises and representations to Plaintiffs knowing

full well Plaintiffs would reasonably rely on Xu’s representations as Plaintiffs did not know that

Dongtai and the Crowne Plaza Hotel investment was a façade and vehicle for Xu’s scheme for

massive fraud and conversion.

       44.     On or about December 15, 2016, Xu, XJ, ZY, and PZ formed Dongtai, a limited

liability corporation under the laws of the State of Texas for the purpose of acquiring a Crowne

Plaza Hotel in Houston. Ex. "4".

       45.     Xu exclusively controlled as Dongtai as President and sole Managing Member.

       46.     Indeed, Xu at all relevant times, had and exercised complete dominion over Dongtai

including Dongtai’s funds as Plaintiffs lacked the ability to change the LLC’s governing

documents and agreements given the 2/3 vote requirement and Xu's 50% stake.

       47.     As a result of Xu’s knowingly false material misrepresentations to induce Plaintiffs

to purchase member units in Dongtai and make Xu President and sole Managing Member and

Plaintiffs reasonable reliance upon Xu’s material misrepresentations, Xu among other things stole,

converted, and misappropriated the funds Plaintiffs invested in Dongtai as well as Plaintiffs’ share

of the profits congruent to their respective member units resulting in damage and harm to Plaintiffs.




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       48.     Plaintiffs’ sustained damages include but are not limited to: loss or threatened loss

of their capital investments; diminishment of their capital investments; devaluation of their

member units; devaluation and threatened loss of Dongtai’s primary asset the Hotel; threatened

loss of the Crowne Plaza brand name; loss of profits and dividends; and loss of economic

opportunities in other investments.

       C. Xu and LCL Defraud Dongtai’s Other Membership Unit Owners

       49.     Xu claims he made a capital contribution of $3,000,000.00 in exchange for 50% of

Dongtai’s member units and designation as Dongtai's sole managing member. Id. However,

documentary evidence (including the closing statements for the purchase of the Hotel)

demonstrates Xu did not satisfy his contractual obligations and did not make the required capital

contribution and makes clear that Xu never intended to pay for his member units. See Declaration

of Huan Cong Nguyen, CPA with attached Accounting Report.

       50.     As Dongtai’s and ATOC’s records demonstrate, Xu only contributed $750,000.00

($2.25 million short) while misappropriating $1,335,561.97. Id. In other words, although Xu paid

$750,000.00, he took the $750,000.00 back (and then some) and effectively nullified any “partial

performance” Xu may have made. Id.

       51.     Thus, Xu is not a shareholder of Dongtai, as he failed to pay for his shares and

defrauded Plaintiffs into believing he had by providing Plaintiffs with a falsified HUD closing

document. As Xu did not pay for his member units, the documents reflecting the percentage of

Xu’s member units must be declared and adjusted accordingly.

       52.     Specifically, Xu prepared a bogus HUD-Settlement Statement and gave it to

Plaintiffs to fraudulently conceal that Xu did not tender any funds whatsoever for his shares. Ex.


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42. Notably, the HUD-Settlement Statement the closing agent ATOC provided is vastly different

than the one Xu provided to Plaintiffs. Id.; Ex. “22.”

       53.     Interestingly, several of Xu’s fraudulent transactions were made to ATOC. Upon

information and belief, this is not coincidence and neither is ATOC’s refusal to provide the

requested information.

       54.     Given Xu’s misrepresentations, XJ, ZY, and PZ each made a capital contribution

of $1,000,000.00 in exchange for the other 50% of Dongtai’s member units divided equally at

approximately 16.66% member units respectively. Id.

       D. Xu Misappropriates Funds From Dongtai

       55.     In the Spring of 2017, Xu informed Jiao that a franchise application fee of

$100,000.00 payable to IHG is due in order for Dongtai to take over the Crowne Plaza franchise

from the sellers. Jiao Declaration ¶ 11; Ex. “31.”

       56.     Xu’s statement was false as the actual application fee was only $15,000.00. Id.

The bank records clearly show that Xu deposited the $100,000.00 and made separate

withdrawals including only $15,000.00 as payment for the franchise application fee. Id.

       57.     On or about March 7, 2017, Xu improperly and without proper authorization

transferred $85,000.00 from Dongtai’s Hotel bank account and used the funds for his own benefit

and purpose. Exs. “11” and “31.”

       58.     On April 7, 2017, Xu stole, embezzled, misappropriated and/or misused monies in

Dongtai’s dividend account with Golden Bank, by unlawfully and without authorization

transferring $27,003.00 from that account for his own purposes and benefit. Ex. 37.




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        59.    On May 1, 2017, Xu stole, embezzled, misappropriated and/or misused monies in

Dongtai’s dividend account with Golden Bank for his own purposes and benefit.                   More

specifically, Xu unlawfully and without authorization transferred $55,006.00 that account for his

own purposes and benefit. Ex. 38.

        60.    On or about May 26, 2017, Xu told Plaintiffs that they still needed $860,000.00 for

closing. As a result, Plaintiffs paid half ($430,000.00) and provided Xu a loan to pay his half ($430,

000.00). Exs. “8” and “12.”

        61.     Xu has not paid back any portion of the loan. Jiao Declaration ¶ 15.

        62.    On or about July 19, 2017, Xu sent Plaintiffs a document titled “Notice of Dividend

for June of Fiscal Year 2016” stating that Dongtai made a profit of $82,652.00 and that each

member would receive a dividend payment based on the percentage of ownership. Ex. “7.”

Plaintiffs were to receive a total of $39,672, payable to their newly created domestic corporations

for tax purposes. Id.

        63.    Xu never paid and Plaintiffs never received any dividend payment. Jiao Declaration

¶ 17.

        64.    Xu willfully withheld Plaintiffs’ dividend distribution and used the funds for his

own purposes and benefit as on July 26, 2017, Xu transferred $69,500.00 to ATOC for his purchase

of a car dealership. Jiao Declaration ¶ 18; Exs. “10” and “11.”

        65.    Plaintiffs confronted Xu and asked what happened to their dividend distribution

and to justify the $69,500.00 expenditure to the American Title. Xu did not address and did not

attempt to resolve Plaintiffs’ inquiry. Jiao Declaration ¶ 19.

        E. Xu Violates Dongtai’s Bylaws and Operating Agreement


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       66.     On July 19, 2017, Xu, XJ, ZY, and PZ executed Dongtai’s Bylaws and Operating

Agreement. Ex. “4.”

       67.     As set forth in the section titled “Managers’ Responsibilities” in the Bylaws and

Operating Agreement: “Managers and managing members should remember that they owe a duty

of loyalty and a duty of care to the business. They cannot compete with the business before

dissolution, they must refrain from grossly negligent or reckless conduct, and they must account

to the company for any property, profit or benefit derived by the member from the company.” Id.

       68.     As set forth in the section titled “Members’ Rights” in the Bylaws and Operating

Agreement: “The limited liability company must allow the members to access company records.

Additionally, the company must provide each member with information necessary for the exercise

of the member’s duties under the operating agreement. This requirement cannot be waived in the

Operating Agreement.” Id.

       69.     As set forth in the section titled “Liability for Wrongful Distributions” in the

Bylaws and Operating Agreement: Members or Managers “who receive distributions in violation

of the Certificate of Formation, the Operating Agreement, or the Act are liable to the LLC in an

amount equal to the wrongful distribution.” Id.

       70.     Also in July 2017, Jiao learned of the Settlement Statement (HUD-2) showing that

Dongtai reserved $1,000,000.00 for Hotel renovations. Jiao Declaration ¶ 20; Ex. “22.”

       71.     As previously stated, Xu manufactured or created a false and fake HUD settlement

statement to conceal the fact he did not pay for his member units as Xu was required to do. It is

currently unknown what part the closing agent, ATOC had in Defendants’ scheme.




                                                  18
       72.     On August 2, 2017, Xu sent Plaintiffs a Loan Notice memorializing and affirming

that Xu borrowed $430,000.00 from Plaintiffs. Ex. “12.”

       73.     Xu has not paid back any portion of this loan. Jiao Declaration ¶ 23.

       74.     On August 2, 2017, Xu transferred $200,000.00 from Dongtai’s Hotel bank account

to Xingxing Zou. Exs. “10” and “11.”

       75.     Xu willfully concealed that this transfer came from Dongtai’s Hotel bank account

as Xu fraudulently told Jiao that the $200,000.00 payment came Xu’s personal bank account. Id.;

Jiao Declaration ¶ 25-26.

       76.     Udayan and American Hospitality knew about Xu's unethical behavior as early as

September 2017 and requested Xu return the money to Dongtai’s Hotel bank account. Ex. “9.”

       77.     On September 28, 2017, Xu without notifying Plaintiffs or obtaining valid

authorization, improperly transferred funds ($100,000.00) from Dongtai’s Hotel bank account to

the Drive with Pride Car Dealership so Xu could purchase the dealership from the seller. Jiao

Declaration ¶ 27-28; Exs. “10” and “11.”

       78.     On October 6, 2017, Xu without notifying Plaintiffs or obtaining valid

authorization, improperly transferred funds ($160,000.00) from Dongtai’s Hotel bank account to

ATOC to further Xu’s own personal interests. Id.; Jiao Declaration ¶ 29-30.

       79.     On or about October 27, 2017, Xu transferred $80,000.00 from Dongtai’s Hotel’s

bank account operating account into Dongtai’s dividend account. Exs. “10” and “11.” As such,

Xu made a second dividend distribution to himself and kept Plaintiffs’ share of the dividends to

use for his own personal benefit. Id.; Jiao Declaration ¶ 31-32.




                                                19
       80.     On October 27, 2017, Xu boldly continued to plunder Dongtai’s bank accounts for

his own personal use and without notifying Plaintiffs or obtaining valid authorization made the

following transfers from Dongtai’s dividend bank account: 1) $50,000.00 to Future Pyramid INC

for expenses associated with Xu’s car dealership; 2) $3,000.00 to Alkins Capital Investment; and

3) $6250.22 to Scott Capital Investment. Exs. “6,” “10,” “11,” and “32.”

       F. Xu’s Malfeasance is Revealed

       81.     As of December 2017, Jiao’s immigration status permitted him to obtain Optional

Practical Training (“OPT”) in order to legally stay in the United States.

       82.     As such, in accordance with the OPT rules which require a foreign student to obtain

a job within the first three month from the Employment Authorization Document (“EAD”) start

date in order to legally stay in the United States, Jiao asked Xu if Dongtai could hire him.

       83.     In response, Xu on Dongtai’s behalf, offered Jiao a position at the Hotel beginning

on March 1, 2018. On December 29, 2017, Xu sent Jiao a written offer of employment with terms

indicating the start date and the terms of compensation. Ex. “13.”

       84.     Jiao accepted the position, provided the requested documentation, and worked

accordingly. Ex. “17.” Despite Jiao’s compliance and satisfaction of the terms of the employment

offer and agreement, Xu violated the agreement and did not pay Jiao.

       85.     Jiao was owed approximately $21,000.00 in past wages. As a result of Xu’s

plundering of Dongtai’s accounts Dongtai did not have the money to pay Jiao. Exs. “24” and “27.”

       86.     Jiao did not at any time have any control over Dongtai during his employment with

the Hotel.




                                                20
       87.     On December 30, 2017, Xu sent Jiao an email willfully misrepresenting that Xu

would withdraw $250,000.00 from the Dongtai’s Hotel bank account operating account, he would

not use the withdrawn money, and would return the money to the operating account within the

next day or two. Jiao Declaration ¶ 33-35; Ex. “19.”

       88.     Xu never returned the money and used the money for his own purposes and benefit.

Id.

       89.     Xu has and continues to make false and misleading representations to the Plaintiffs

in order to conceal his actions including his fraudulent scheme for which he induced Plaintiffs into

purchasing securities in Dongtai.

       90.     On January 10, 2018, Xu without notifying Plaintiffs or obtaining valid

authorization, improperly transferred $286,096 from Dongtai’s Hotel bank account to ATOC for

his personal use and benefit. Jiao Declaration ¶ 35; Exs. “10” and “11.”

       91.     Jiao asked Xu about this transfer and Xu told Jiao that Xu was closing the car

dealership he purchased and considered the transfer as a loan from Dongtai. Jiao Declaration ¶ 36-

38. Jiao informed Xu that Plaintiffs did not agree to such a loan and Xu was to pay back the money

as soon as possible. Id. Xu responded that he would pay the money back as soon as he could. Id.

Xu has never paid Dongtai back for this unauthorized “loan.” Id.

       92.     Xu’s plundering of Dongtai and the Hotel continued as from March 1, 2018 to

November 19, 2018 Xu made the following unauthorized transfers from Dongtai’s Hotel bank

account:

           a. 3/1/2018-Xu transferred $25,500 to Yalu Group USA LLC (Car dealership owner)
           (“Yalu”);
           b. 3/30/2018-Xu transferred $28,521 to Yalu;
           c. 4/02/2018-Xu transferred $26,000 to Yalu;

                                                21
          d.   4/16/2018-Xu transferred $15,000 to Yalu;
          e.   4/19/2018-Xu transferred $26,000 to Yalu;
          f.   4/19/2018-Xu transferred $24,000 to Yalu;
          g.   4/20/2018-Xu transferred $26,000 to Yalu;
          h.   5/01/2018-Xu transferred $26,000 to Yalu;
          i.    5/31/2018-Xu transferred $26,000 to Yalu;
          j.    6/15/2018-Xu transferred $26,000 to Yalu;
          k.    7/31/2018-Xu transferred $26,000 to Yalu; and
          l.    11/19/2018-Xu transferred $15,500 to Yalu.

Exs. “10,” “11,” and “40.”

       93.     When Jiao recently discovered these transactions, Xu’s response was that this just

another loan Xu received from Dongtai. Jiao Declaration ¶ 36.

       94.     Xu has never paid Dongtai back for these unauthorized “loans.” Jiao Declaration ¶

38.

       95.     On May 19, 2018, Dongtai’s members, Xu and the Plaintiffs entered into a

Supplementary Agreement of Financial Management of the Crowne Plaza Hotel. Ex. “14.”

Specifically, the agreement states that: 1) a minimum of $350,000.00 must be maintained in the

Dongtai’s Hotel bank account operation account all year round; 2) Udayan is the only person

authorized to use the funds in the account; 3) Xu borrowed $638,000.00 from the Hotel and must

pay it all back on or before August 31, 2018; and 4) Xu borrowed $228,000.00 from the Plaintiffs

and must pay it all back on or before August 31, 2018. Id.

       96.     On May 22, 2018, Xu sent an email to the Hotel’s operator affirming that Jiao was

Dongtai’s employee. Ex. “17.”

       97.     Sometime in early August 2018, due to Xu’s failure to return the money and pay

Plaintiffs and Dongtai anything, Jiao suspected something was amiss and initiated action to




                                               22
investigate Xu’s conduct and actions. Jiao Declaration ¶ 41. As such, Jiao investigated the Hotel

and Dongtai’s bank accounts. Id.

       98.     Initially Jiao discovered the following: 1) that the actual amount of the license

application fee was $15,000.00; 2) that Xu transferred $85,000.0 from Dongtai’s dividend bank

account to his own companies (A, F&G, Inc.-$15K; Scott Capital Investment-$25K; and Alkins

Capital Investment LTD-$45K); and 3) that these transfers were not listed on the General Ledger

Activity Detail. Jiao Declaration ¶ 43; Exs. “6,” “10,” “11,” and “31.”

       99.     As Jiao’s initial findings demonstrated a pattern of fraud, theft, and conversion,

Plaintiffs hired a CPA on Dongtai’s behalf to conduct an audit into Dongtai’s records. Jiao

Declaration ¶ 42.

       100.    On August 3, 2018, Jiao emailed Xu and demanded Xu return all “Moved” Money

to the Hotel’s account. Ex. “20.”

       101.    On August 16, 2018, Jiao emailed Xu again reiterating the demand to return the

money. Ex. “21.”

       102.    Thereafter, Xu spoke with Jiao and agreed to return the money. Jiao Declaration ¶

46. Xu has not returned any of the money. Id.

       103.    On August 17, 2018, Xu without notifying Plaintiffs or obtaining valid

authorization, improperly transferred $145,000 from Dongtai’s Hotel bank account to Kenneth

Ting for Xu’s own purpose and benefit. Jiao Declaration ¶ 47; Exs. “10” and “11.”

       104.    Jiao asked Xu about this transfer and Xu responded he would return the money to

the operating Dongtai’s Hotel bank account tomorrow. Xu never returned the money. Jiao

Declaration ¶ 48.


                                                23
        105.   On August 31, 2018, Xu was to have repaid the Hotel and Plaintiffs for the amount

he borrowed per the “Amended Financial Management Agreement of Crowne Plaza Hotel” Xu

signed and agreed to. Ex. “14.”

        106.   Xu has not repaid the “loans” totaling $866,000.00 due on August 31, 2018. Jiao

Declaration ¶ 50.

        107.   As such, Xu breached and continues to breach the Amended Financial Management

agreement.

        108.   Significantly, the CPA prepared a General Ledger Activity Detail for Dongtai (from

05/30/2017 to 11/28/2018) showing Xu’s theft and conversion of funds from Dongtai’s Hotel bank

account Dongtai and the Hotel’s bank accounts as previously described above. Exs. “10” and

“11.”

        109.   According to the General Ledger Activity Detail provided by the CPA, Xu stole

and converted approximately $ 1,909,286.16 from Dongtai’s bank accounts and credit cards from

July 26, 2017 to November 19, 2018. See generally Id. and Ex. “40.”

        G. Xu’s Actions Imperil Dongtai’s Interest in the Hotel

        110.   On or about November 28, 2018, Udayan sent Jiao an email stating that the Hotel

received complaints about its elevators. Ex. “16.”

        111.   Udayan also informed Jiao that he sent Xu multiple prior emails about the elevator

issues and Xu has refused to address the issue. Jiao Declaration ¶ 53.

        112.   Although Xu on the Hotel’s behalf entered into an Elevator Services contract with

the elevator company on September 8, 2018, the Hotel has not satisfied its obligation to pay for

the servicing of the Hotel’s elevators. Ex. “15.”


                                                24
       113.       As currently $100,000.00 is owed to begin the elevator service agreement Xu,

Udayan and American Hospitality’s failure to pay for the service agreement has harmed the Hotel’s

operations. Jiao Declaration ¶ 54; Ex. “27.” Indeed, since Hurricane Harvey, the Hotel has two

elevators down which has and continue to have a profound negative effect on the Hotel’s

operations. Id.

       114.       On November 28, 2018, the investigating CPA requested additional information

and access to more records. However, in an attempt to conceal his actions Xu refused or did not

respond in order to conceal his gross negligence in managing Dongtai. Ex. “18.”

       115.       On Sunday, December 2, 2018, Plaintiffs learned that InterContinental Hotels

Group sent Dongtai correspondence on November 28, 2017 stating that because Dongtai failed to

pay the Crowne Plaza brand fees on a quarterly basis as agreed to under the parties written

agreement, Dongtai has breached its agreement with IHG by failing to pay the licensing fee of

$180,000 which is now grossly overdue. Jiao Declaration ¶ 55; Ex. “23” and “34.”

       116.       As a direct result of Xu’s actions including his breach of his fiduciary and

managerial duties to Dongtai and Plaintiffs, IHG issued an ultimatum stating that unless the

$180,000 fee is paid in full by January 7, 2019, the License to use the Crowne Plaza brand will be

terminated immediately and the Hotel located at 9090 Southwest Fwy, Houston, TX 77074 will

be removed from the Crowne Plaza system on the termination date. Id.

       117.       Udayan made one last attempt to get the licensing fee due date extended, but was

unsuccessful. Ex. “25.”




                                                 25
       118.    Unless, Xu either returns the money he stole, converted and or owes the Hotel and

Plaintiffs or pays the licensing fee directly, the Hotel will go out of business and Plaintiffs’

investment in the Hotel will be irreparably harmed. Jiao Declaration ¶ 57; Exs. “25” and “27.”

       119.    Given the dire situation, Plaintiffs retained counsel to protect their interests and to

save the Hotel. As such, on December 7, 2018, Plaintiffs’ counsel sent correspondence to Xu

demanding: 1) Xu provide the shareholders a written explanation as to: a) why the shareholders

were not notified in advance of the IHG default ; b) why was the fee not timely paid; c) why doesn't

Dongtai have the money to pay for the license fee; d) why have the shareholders received no

dividend from their investment; and e) an explanation for the lack of money in the company's

accounts to cover normal expenses; and 2) Xu tender full payment of the outstanding license fee

on or before Monday, December 10, 2018. Ex. “29.”

       120.    On December 10, 2018, Xu responded by immediately stopping the audit in order

to conceal evidence of his wrongdoing. Ex. “28” and “35.”

       121.    In addition to the outstanding license fee, Plaintiffs recently learned from Udayan

that as a result of Defendants’ misappropriation, misuse and stealing of Dongtai and/or the Hotel’s

funds, Dongtai and the Hotel were unable to pay the following vital operating expenses due in the

next 90 days: 1) property tax due on 1/31/19 in the amount of $340,000.00; 2) loan interest

payments due on every 2nd day of month with the next payment due on 1/2/19 in the amount of

$71,000.00; and 3) Hotel employee payroll due twice a month on the 1st and 15th day of each month

with the next payment due on 1/1/19 in the amount of $73,000.00. Jiao Declaration ¶ 58; Ex. “27.”

       H. Xu Tries to Thwart Plaintiffs’ Attempts to Investigate




                                                 26
       122.     Given the dire situation, on December 14, 2018, Plaintiffs wrote to Xu demanding

as individual member unit holders to inspect Dongtai's and the Hotel's records with Plaintiffs’ own

independent auditor beginning on Monday, December 17, 2018 at 10:00 at Dongtai's office and

the Hotel's office to protect Dongtai and the members’ interests in order to: 1) ascertain the

financial condition of the company and of the Hotel; 2) determine the value of our member units;

and 3) to investigate Xu’s mismanagement, of the company including but not limited to Xu’s waste

of corporate assets, self-dealing or other breaches of fiduciary. Ex. “24” and “29.”

       123.     On December 17, 2018, Xu ignored Plaintiffs demand and prevented Plaintiffs from

accessing and auditing Dongtai and the Hotel’s corporate books and records. Jiao Declaration ¶

60; Ex. “34.”

       I. First Filing in Federal Court and Judge Ellison’s Preliminary Injunction Order

       124.     Facing no other choice and the Hotel on the verge of losing the franchise name and

inability to pay its critical operating expenses, Plaintiffs filed suit along with applications for TRO,

Preliminary Injunction, and Appointment of a Temporary Receiver in Jiao v. Xu, Case Number

4:18-cv-04756.

       125.     Given the overwhelming evidence demonstrating Xu’s fraudulent and unlawful

conduct, Judge Ellison properly determined in matter number 4:18-cv-04756 [Doc. No. 7], that

emergency relief granting access to the corporate books and records, appointing a receiver to

manage Dongtai’s affairs, and compelling Xu to return the money he stole, misappropriated and/or

“borrowed” was indicated and necessary to prevent irreparable harm to Plaintiffs and to avoid the

shutdown of the Hotel.




                                                  27
       126.    Despite the Preliminary Injunction, Xu took, embezzled and converted Dongtai’s

property tax refund in the amount of $28,962.48. Ex. “39.” As such, the amount Xu stole,

embezzled, and converted exceeds $1.5 million. Exs. “40” and “41.”

       127.    As a result of Judge Ellison’s issuance of the Preliminary Injunction, namely

removal of Xu as Dongtai’s President and Managing Member, appointment of Michael Udayan as

Temporary Reciever for Dongtai, freezing of Xu’s personal and business bank accounts, and

denying Xu access to Dongtai’s bank accounts, the Hotel was able to “stop the bleeding” and begin

recovering from Xu’s unlawful and fraudulent conduct.

       128.    As Judge Ellison’s Preliminary Injunction is dissolved due to the Court’ dismissal

of 4:18-cv-04756, immediate reinstatement of Judge Ellison’s Preliminary Injunction or the

issuance of an equal TRO and Preliminary Injunction by this Court is necessitated to protect

Plaintiffs and prevent Xu from doing the same or worse harm and damage to Plaintiffs as he did

before (as Xu has indicated to Plaintiffs directly he wants revenge) as well as to prevent Xu from

taking the money out of his personal and business accounts (which is believed to contain Plaintiffs’

funds) to hide it from Plaintiffs and this Court.

       129.    Plaintiffs also seek immediate declaratory relief that Xu is not a member of Dongtai

given Xu did not pay for his member units as Dongtai is $3,000,000 short of the capital it needs to

conform with the Crowne Plaza franchise’s requirements for the Hotel.

       130.    As such, Plaintiffs require immediate relief to raise capital with the member units

Xu did not purchase or else the Crown Plaza franchise will pull the brand from the Hotel.




                                                    28
                               FIRST CAUSE OF ACTION
      (Declaratory and Injunctive Relief to Account for Shares Xu actually purchased)

       131.       Plaintiffs reallege and reassert all allegations in the preceding paragraphs of this

Complaint as though fully set forth herein.

       132.       Under Dongtai’s Bylaws and Operating Agreement, Xu was contractually obligated

to make a capital contribution of $3,000,000.00 in exchange for 50% member units and for

designation as Dongtai's sole managing member. Ex. “4.”

       133.       However, upon information and belief, the closing statements reveal that Xu did

not make a capital contribution of $3,000,000.00 and thus, the amount of shares Xu actually has

and which Xu paid for more must be adjusted accordingly.

       134.       As such, Plaintiffs seek declaratory relief from this Court to declare that: 1) Xu did

not make a capital contribution of $3,000,000.00 as he was contractually obligated to do so to

obtain 50% member units of Dongtai; 2) Xu must surrender to Dongtai the units he did not

purchase; and 3) the amount of shares Xu actually has is to be adjusted accordingly based on the

amount Xu misappropriated, and if necessary, on a pro-rata basis.

       135.       Plaintiffs seek injunctive relief from this Court to: 1) compel Xu to surrender to

Dongtai the units he did not purchase; 2) order that the shares Xu actually has is to be adjusted

accordingly based on the amount Xu misappropriated, and if necessary, on a pro-rata basis; and 3)

enjoin Xu from purchasing the shares he failed to make payment for and/or allow the current

shareholders to decide by a majority vote as to the whom may purchase the outstanding shares and

for what price.

       136.       The requested injunctive relief is necessary to protect Plaintiffs’ legitimate business

interests and is necessary in the interest of fairness and equity.

                                                    29
                                SECOND CAUSE OF ACTION
                    (Breach of Contract- Bylaws and Operating Agreement)

        137.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 125

as if fully set forth herein.

        138.    Dongtai’s Bylaws and Operating Agreement constitute a binding and enforceable

agreement.

        139.    Defendants initially materially breached the Bylaws and Operating Agreement by

denying members and unit holders Plaintiffs from access to Dongtai’s corporate books and records.

The Court rectified this in its granting of Plaintiffs’ application for preliminary injunctive relief.

[4:18-cv-04756-Doc. No. 7].

        140.     Defendants have further materially breached the Bylaws and Operating Agreement

by denying Plaintiffs, as Dongtai unit holders entitlement to their rightful distributions and

dividends from Dongtai’s profits and Xu did not make a capital contribution of $3,000,000.00 as

he was contractually obligated to do so to obtain 50% member units of Dongtai.

        141.      Moreover, Defendants have routinely violated the Bylaws and Operating

Agreement as Defendants have received his/its full distributions while Plaintiffs have not despite

Plaintiffs having a collective 50% interest in Dongtai’s profits.

        142.    Plaintiffs have fully performed all their obligations under the Bylaws and Operating

Agreement.

        143.    As a direct and proximate result of the material breaches by Defendants, Plaintiffs

have suffered and continue to suffer actual and consequential damages in an amount to be

determined at trial.



                                                 30
         144.   Plaintiffs are entitled to actual and/or liquidated damages, to an award of costs and

attorney fees, and to all other such relief as may be available.

                                 THIRD CAUSE OF ACTION
 (Breach of Contract- Supplementary Agreement of Financial Management of the Crowne
                           Plaza Hotel and Dongtai’s Bylaws)

         145.   Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 133

as if fully set forth herein.

         146.   Dongtai’s Bylaws/Operating Agreement and Supplementary Agreement of

Financial Management of the Crowne Plaza Hotel (“Supplementary Agreement”) constitute

binding and enforceable agreements.

         147.   Defendants have materially breached Supplementary Agreement by failing to repay

the money Defendants’ “borrowed” from Plaintiffs.

         148.   Defendants have further materially breached the Dongtai Bylaws/Operating

Agreement by failing to make the $3,000,000.00 capital contribution in exchange for 50% member

units.

         149.   Plaintiffs have fully performed all their obligations under the Supplementary

Agreement.

         150.   Plaintiffs have fully performed all their obligations under the Bylaws/Operating

Agreement.

         151.   As a direct and proximate result of the material breaches by Defendants, Plaintiffs

have suffered and continue to suffer actual and consequential damages in an amount to be

determined at trial.




                                                 31
        152.    Plaintiffs are entitled to actual and/or liquidated damages, to an award of costs and

attorney fees, and to all other such relief as may be available.

                                    FOURTH CAUSE OF ACTION
                                      (Breach of Fiduciary Duty)
                                            (Individually)

        153.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through

141 as if fully set forth herein.

        154.    Under Dongtai’s Bylaws/Operating agreement and Texas law, Xu as President and

Managing Member of Dongtai owes the fiduciary duties of loyalty, good faith, care, and fair

dealing to Plaintiffs (individually and collectively) as investors and unit holders.

        155.    Xu breached the duties of loyalty, good faith, fair dealing and care owed to

Plaintiffs (individually and collectively) as unit holders and were breached by Xu in the scope of

his duties by his conduct and/or inaction by, among other things,

                a.      misappropriating, embezzling, stealing, and/or converting funds from

                        Dongtai and the Hotel’s bank accounts for his own personal use and benefit;

                b.      wrongfully withholding Dongtai’s distributions/dividends to Plaintiffs;

                c.      mismanaging and misappropriating Dongtai’s assets and final resources

                        resulting in the Hotel’s inability pay its financial obligations necessary to

                        operate the Hotel including but not limited to the licensing fee and loan

                        payments for fund Dongtai has borrowed in order to operate the Hotel; and

                d.      mismanaging Dongtai to the point where Dongtai’s units have been

                        devalued and profits have been diminished; and

                e.      failing to file Dongtai’s income tax return.


                                                 32
        156.    Defendants’ various breaches of fiduciary duties to Plaintiffs (individually and

collectively) have irreparably harmed and damaged Plaintiffs and will continue to do so.

        157.    As a result of Defendants’ unlawful and unethical conduct Plaintiffs have not

received their distributions and dividends, their Dongtai units have been devalued, Plaintiffs have

not received the money back that Defendants unlawfully and wrongfully “borrowed” from

Plaintiffs and the Hotel, Plaintiffs have been denied their right to inspect Dongtai’s corporate books

and records, and Plaintiffs are on the verge losing Dongtai’s most valuable asset, the Hotel.

                                  FIFTH CAUSE OF ACTION
                                   (Breach of Fiduciary Duty)
                                (Derivatively on Behalf of Dongtai)

        158.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through

146 as if fully set forth herein.

        159.     Plaintiffs (individually and/or collectively) bring this claim derivatively in the right

and for the benefit of Dongtai to redress injuries suffered by Dongtai as a direct result of

Defendants’ breaches of fiduciary duties owed to Dongtai as President and Managing Member of

the company.

        160.    Under Dongtai’s Bylaws/Operating agreement, Xu as President and Managing

Member of Dongtai owes the fiduciary duties of loyalty, good faith, care, and fair dealing to

Plaintiffs (individually and collectively) as unit holders.

        161.    Plaintiffs (individually and/or collectively) are members of and holder of member

units of Dongtai at the time of the wrongdoing alleged herein and have been Dongtai member unit

holders continuously since that time.




                                                   33
       162.    This action is not a collusive one to confer jurisdiction that the court would

otherwise lack.

       163.    Plaintiffs (individually and/or collectively) will adequately and fairly represent the

interests of Dongtai and its unit holders in enforcing and prosecuting its rights.

       164.    Aside from the demands for inspection, Plaintiffs have not made any demand on

Dongtai to institute this action because such a demand would be a futile and useless act because

the alleged wrongdoer, Xu purportedly owns 50% of the company and was the only managing

member.

       165.    As such, Dongtai’s management is incapable of making an independent and

disinterested decision to institute and vigorously prosecute this action.

       166.    By reason of his positions as President and Dongtai’s Managing Member and

because of his ability to control the business and corporate affairs of Dongtai, Xu owed Dongtai

fiduciary obligations of good faith, care, loyalty and candor, and is required to use his utmost

ability to control and manage the company in a fair, just, honest and equitable manner, and to act

in furtherance of the best interests of Dongtai and not in furtherance of his personal interest.

       167.    As purported 50% unit holder of Dongtai, Defendants owed and owes the fiduciary

duty of loyalty to Plaintiffs in their capacity as unit holders of Dongtai.

       168.    Defendants breached their fiduciary duty to Dongtai by virtue of the self-dealing

and intentional injuries they inflicted on Dongtai as alleged herein.

       169.    Defendants have breached their fiduciary duties owed to Plaintiffs in their capacity

unit holder of Dongtai by, among other things, their conduct in devaluing Dongtai units, misusing




                                                  34
corporate credit, misappropriating and stealing Dongtai assets, and jeopardizing Dongtai’s most

valuable asset, the Hotel.

        170.     As a direct and proximate result of Defendants’ breaches of their fiduciary duties,

Dongtai has been damaged in an amount to be proved at trial.

                                 SIXTH CAUSE OF ACTION
                 (Promissory Estoppel, Quantum Meruit and Constructive Trust)

        171.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through

159 as if fully set forth herein.

        172.    To the extent that a contract does not govern the obligations of Defendants to

Plaintiffs, Plaintiffs plead this claim in the alternative.

        173.    Xu readily informed Plaintiffs that he would repay and/or return the money he took

from Dongtai and the Hotel’s financial accounts.

        174.    Xu readily informed Plaintiffs that he would repay the money Plaintiffs “loaned”

him.

        175.    Xu readily informed Plaintiffs that he would pay Plaintiffs their fair share of

dividends.

        176.    Xu readily informed Plaintiffs that he would make a capital contribution of

$3,000,000.00 for 50% of the member units.

        177.    Plaintiffs reasonably and justifiably relied upon Xu’s representations and thus

delayed legal action against Xu and allowed Xu to operate as 50% unit holder.

        178.    As Xu now has gone back on his word and refuses to pay Plaintiffs the dividends

promised as well as pay back the money he misappropriated, stole, and/or “borrowed” Xu is liable

to Plaintiffs under the equitable doctrine of promissory estoppel.

                                                   35
        179.    Moreover, Plaintiffs conferred benefits upon Defendants, including but not limited

to capital investment in Dongtai in exchange for units in which distributions and dividends are to

be paid to Plaintiffs and the sharing of profits.

        180.    As Xu did not make a capital contribution of $3,000,000.00 for 50% member units,

Xu has been unjustly enriched with member units he did not purchase and pay for.

        181.    Xu appreciated or realized the benefits conferred by Plaintiffs without

compensating Plaintiffs.

        182.    Plaintiffs request a constructive trust on all proceeds, funds, or property obtained

by Defendants as a result of Defendants’ theft, fraud, and other unlawful actions and disgorgement

of all profits or remuneration obtained by Defendants as a result of their actions.

        183.    As such, Defendants are liable to Plaintiffs and Plaintiff Jiao under the theories of

quantum meruit and/or unjust enrichment, for the value of the benefits conferred upon Defendants.

                                 SEVENTH CAUSE OF ACTION
                                   (Fraudulent Concealment)

        184.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 172

as if fully set forth herein.

        185.    Defendants had knowledge that Xu:

                a.       used Plaintiffs’ share of Dongtai profits for Xu’s own benefit;

                b.       misused Dongtai’s credit;

                c.       failed to make the $3,000,000.00 contribution for 50% member units;

                d.       manufactured or created a fake and false HUD closing statement to conceal
                         his failure to pay for his units;

                e.       misused and misappropriated Dongtai’s assets including from the Hotel
                         financial accounts for Defendants’ gain; and

                                                    36
               f.      stole and converted for his own benefit Dongtai’s corporate funds.

        186.   Defendants suppressed these material facts by hiding evidence of these wrongful

acts and denying Plaintiffs the opportunity and ability to investigate and further discover such facts

by: 1) refusing to allow the audit to continue; 2) refusing to allow Plaintiffs to learn of the audit

results; and 3) refusing to allow Plaintiffs to inspect Dongtai’s cooperate books and records.

        187.    Plaintiffs cannot and could not know the full extent of Defendants’ self-dealing

and improper transactions without the audit as Defendants have purposely attempted to conceal

their wrongdoing from Plaintiffs.

        188.   Defendants have withheld this information and continue to hide this information

from Plaintiffs in order to avoid being sued or removed as President and Managing Member and

to avoid possible criminal prosecution for their actions.

        189.   Defendants’ representations to Plaintiffs and the information provided to Plaintiffs

intentionally misled Plaintiffs to believe Defendants were competently running Dongtai and not

plundering Dongtai for their own benefit and cause irreparable harm to Plaintiffs and their

interests.

        190.   As a result of Defendants’ concealment and efforts to continue to conceal, Plaintiffs

have sustained injury and their units continue to be devalued due to Defendants’ hidden and

unlawful conduct.




                                                 37
                                 EIGHTH CAUSE OF ACTION
                                       (Conversion)

        191.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 179

as if fully set forth herein.

        192.     Defendants intentionally conspired to convert and/or did convert Dongtai’s profits,

assets, and the amount owed to Plaintiffs for their distribution/dividends to their own use and

benefit knowing that they did not have any legal right, justification, or claim to Dongtai’s profits,

assets and the amount owed to Plaintiffs for their distributions and dividends.

        193.      Defendants intentionally and unlawfully asserted dominion over Dongtai’s

profits, assets when Xu wrongfully took Dongtai’s property tax refund and transferred money from

Dongtai and the Hotel’s financial accounts without legally being entitled to use these assets for

Defendants’ own benefit and purposes.

        194.     Dongtai’s assets including and Plaintiffs’ share of Dongtai’s profits wrongfully

taken by Defendants was Dongtai’s rightful property as well as Plaintiffs through their ownership

of Dongtai.

        195.     Plaintiffs’ distribution and dividends that were wrongfully taken by Defendants

were Plaintiffs’ rightful property which Plaintiffs are entitled to under the Bylaws and given

Dongtai’s profits.

        196.     Dongtai’s assets, Plaintiffs’ shares of Dongtai’s profits and Plaintiffs’

distribution/dividends remains in the possession of the Defendants.

        197.    Defendants’ conduct has been and continues to be egregious, willful and wanton

warranting an award of exemplary damages.



                                                 38
                                  NINTH CAUSE OF ACTION
                            (Violation of the Texas Civil Theft Statute)

        198.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 186

as if fully set forth herein.

        199.     Under Chapter 134 of the TEX. CIV. PRAC. & REM. CODE, a person “who commits

theft is liable for the damages resulting from the theft.” “Theft” means “unlawfully appropriating

property or unlawfully obtaining services as described by Section 31.03, 31.04, 31.06, 31.07,

31.11, 31.12, 31.13, or 31.14, PENAL CODE.” Appropriation of property is unlawful if it is

without the owner’s effective consent, or if the property is stolen and the actor appropriates the

property knowing it was stolen by another.

        200.    In violation of TEXAS PENAL CODE § 31.03, Xu unlawfully appropriated property

and monies of Plaintiffs and Dongtai with the intent to deprive Plaintiffs and Dongtai of the

property and its proceeds, namely, the assets in Dongtai, member units he did not pay for, and the

Hotel’s financial accounts and any remuneration generated thereby.

        201.    Plaintiffs did not consent to Defendants’ misappropriation of the funds and member

units provided by Plaintiffs and Dongtai including but not limited to the funds in Dongtai’s and

the Hotel’s financial accounts, Xu’s Dongtai shares, Dongtai’s property tax refund, and Defendants

appropriated said funds knowing that the property and proceeds generated therefrom were stolen.

        202.    Accordingly, Plaintiffs seek to recover all actual and consequential damages caused

by the theft, all statutory penalties under TEX. CIV. PRAC. & REM. CODE §134.005(A), and all pre-

judgment and post-judgment interest Plaintiffs are entitled.

        203.    Plaintiffs further seek all reasonable and necessary attorneys’ fees and costs

pursuant to TEX. CIV. PRAC. & REM. CODE §134.005(b).

                                                 39
            204.   In addition, Defendants’ conduct was willful, malicious, and intentional, and was

done with the specific intent to cause substantial injury to Plaintiffs, Defendants should be further

assessed exemplary damages in an amount to be ascertained at trial. See TEX. CIV. PRAC. & REM.

CODE §41.008(c).

                                    TENTH CAUSE OF ACTION
                        (Intentional or Tortious Interference with a Contract)

            205.   Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 193

as if fully set forth herein.

            206.   Dongtai has a contract with IHG so that Dongtai can use the Crowne Plaza brand

for its Hotel.

            207.   Defendants had knowledge of this contract.

            208.   Defendants intentionally and improperly interfered with this contract by

preventing, blocking and/or intentionally interfering with Dongtai’s contract with IHG.

            209.   As a direct result of Defendants’ actions as alleged herein, Plaintiffs have been or

will be irreparably, materially, and substantially harmed and damaged in an amount to be proven

at trial.

                                  ELEVENTH CAUSE OF ACTION
                                           (Fraud)

            210.   Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through

198.

            211.   Xu made numerous representations to Plaintiffs that: 1) he would fulfill his duties

as Dongtai’s President and Managing Member and pay for his 50% member units; 2) he would

repay Plaintiffs for the amount he “borrowed”; 3) he would pay Plaintiffs the dividends owed to


                                                    40
Plaintiffs; and 4) attesting to the purpose and, at times, the source of the withdrawals; 5) the HUD

statement he gave to Plaintiffs was the real HUD statement from the closing; and 6) he would

immediately return the $250,000.00 he withdrew on December 30, 2017 from Dongtai’s Hotel

Bank account.

        212.    Xu’s representations were false.

        213.    Xu knew the misrepresentations made to Plaintiffs were false when Xu made them,

and intended Plaintiffs to rely on said misrepresentations.

        214.    Plaintiffs relied on Xu’s misrepresentations and continued to fund Dongtai, allow

Xu to have 50% member units, and did not seek legal action under the pretense that Xu’s

withdrawals were for legitimate business reasons and he was going to return and repay the money

he took from Dongtai and Plaintiffs.

        215.    As a result of Xu’s misrepresentations, Plaintiffs and Dongtai have suffered actual

damages and are entitled to recover in the amount determined by the trier of fact. Plaintiffs and

Dongtai further request an award of exemplary damages, a constructive trust on the proceeds,

funds, or property obtained as a result of the fraud, all pre-judgement and post-judgment interest,

and costs of court.

                               TWELFTH CAUSE OF ACTION
                (Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                             Promulgated Thereunder Against Xu)

        216.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 204

as if fully set forth herein.

        217.    Xu carried out a plan, scheme, and course of conduct that was intended to, and did

(i) deceive Plaintiffs, as alleged herein; and (ii) cause Plaintiffs to purchase member units and


                                                   41
interests in Dongtai. In furtherance of this unlawful scheme, Xu took the actions set forth

hereinabove.

       218.    Membership interests in Dongtai are investment contracts, which fall within the ’34

Act’s definition of “securities.” See Ex. “4” DONGTAI OPERATING AGREEMENT at ¶¶ 8-10, 15, &

18.

       219.    The Operating Agreement vested essentially all power in the hands of Xu, the sole

Managing Member.

       220.    Said Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices and a course of business which

operated as a fraud and deceit upon purchasers of Dongtai units for the purchase of the Crowne

Plaza Hotel in violation of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder. These

Defendants are sued as primary participants in the wrongful and illegal conduct charged herein.

       221.    Xu, directly and indirectly, by the use, means, or instrumentalities of interstate

commerce and/or of the mails, engaged and participated in a course of conduct to conceal adverse

material information about his ability to contribute capital, his intentions to steal and abscond

Plaintiffs’ capital investment and Dongtai’s profits, among other things, as specified herein.

       222.    Xu employed devices, schemes and artifices to defraud and engaged in acts,

practices, and a course of conduct as alleged herein in an effort to assure investors of the value of

investing in Dongtai, namely the Crowne Plaza Hotel, which included the making of, or the

participation in the making of, untrue statements of material facts about funding for the Crowne

Plaza Hotel and the purchasing of membership units and omitting to state material facts necessary


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in order to make the statements made not misleading.

       223.    Xu’s primary liability arises from the following facts, among others: (i) he was at

all relevant times the sole managing member of and high-level officer within Dongtai in the

scheme to sell foreign investors membership units in Dongtai and/or in the Crowne Plaza Hotel;

(ii) Xu, by virtue of his responsibilities and activities as sole-managing member of Dongtai,

perpetuated his scheme to have Plaintiffs without Plaintiffs’ knowledge of Xu’s willful deceit

purchase Xu’s member units, hide his fraudulent scheme by providing Plaintiffs with a fake HUD-

settlement statement for the Hotel’s closing, embezzle the funds Plaintiffs contributed to the

company, and embezzle the profits from Plaintiffs’ membership units; and (iii) Xu’s knew or

recklessly disregarded the materially false and misleading representations Xu made to Plaintiffs in

order to entice and defraud Plaintiffs to invest in Dongtai and continue to contribute money for the

Crowne Plaza Hotel.

       224.    Xu had actual knowledge of the misrepresentations and omissions of material facts

set for herein, or acted with severely reckless disregard for the truth as set forth herein, in that Xu

failed to ascertain and disclose such facts, even though Xu knew these facts.

       225.    Xu’s material misrepresentations and/or omissions were done knowingly or with

deliberate recklessness and for the purpose and effect of inducing Plaintiffs to invest and

concealing information regarding Dongtai and the Crowne Plaza Hotel’s true status as a façade

and vehicle for massive fraud and conversion for Xu’s sole benefit.

       226.    As Xu’s unlawful conduct has demonstrated, Xu never intended to: 1) pay for his

members units; 2) pay $3,000,000 as his capital contribution as he knew he did not have those

funds at the time he made promises to Plaintiffs and at the time the governing documents were


                                                  43
executed; 3) fulfill his duties as President and Managing Member; 4) pay back the money he stole,

misappropriated, and converted 5) pay back the money he allegedly “borrowed”; 6) timely file

accurate tax returns on behalf of the company; and 7) use Dongtai’s and Plaintiffs’ funds for the

benefit of Dongtai and the Hotel.

       227.    Prior to forming Dongtai, Xu made many material representations to XJ, ZY, and

PZ to induce them to investing and forming Dongtai. Xu communicated to Plaintiffs via telephone,

mail, email, and/or the App WeChat many promises and assurances including, but not limited to:

a) the proposal for funding Dongtai through each members’ purchase of member units; b) Xu

would contribute $3,000,000 as his capital contribution in exchange for 50% stake in the LLC; c)

Dongtai’s profits would be distributed on a pro rata basis; d) that Dongtai’s funds would be used

solely for Dongtai’s business purpose in purchasing and operating the Crowne Plaza Hotel; and d)

that as President and sole Managing Member, Xu would carry out his duties as delineated in the

Bylaws (Ex. “4”) including but not limited to ensuring that Dongtai’s financial obligations were

timely satisfied to avoid defaults and filing accurate and timely tax returns for the company.

       228.    Xu willfully made these false promises and representations to Plaintiffs knowing

full well Plaintiffs would reasonably rely on Xu’s representations as Plaintiffs did not know that

Dongtai and the Crowne Plaza Hotel investment was a façade and vehicle for Xu’s scheme for

massive fraud and conversion.

       229.    On or about December 15, 2016, Xu, XJ, ZY, and PZ formed Dongtai, a limited

liability corporation under the laws of the State of Texas for the purpose of acquiring a Crowne

Plaza Hotel in Houston. Ex. "4".

       230.    Xu exclusively controlled as Dongtai as President and sole Managing Member.


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       231.    Indeed, Xu at all relevant times, had and exercised complete dominion over Dongtai

including Dongtai’s funds as Plaintiffs lacked the ability to change the LLC’s governing

documents and agreements given the 2/3 vote requirement and Xu's 50% stake.

       232.    As a result of Xu’s fraudulent and unlawful actions and dissemination of materially

false and misleading information and failure to disclose material facts, as set forth herein, Dongtai

and the Crowne Plaza Hotel purchase appeared to be a legitimate investment opportunity for

foreign investment. In ignorance of the fact that Dongtai’s securities and the Crowne Plaza Hotel

purchase were merely a façade for a fraudulent and criminal scheme, Plaintiffs invested their

money into Dongtai and the Hotel and were damaged thereby.

       233.    At the time of said misrepresentations and omissions, Plaintiffs were ignorant of

their falsity and believed them to be true. Had Plaintiffs known of Xu’s fraudulent practices,

Plaintiffs would not have purchased or otherwise acquired their interests/securities in Dongtai and

would not have purchased the Crowne Plaza Hotel.

       234.    Moreover, Plaintiffs have only recently discovered the scope of Xu’s fraud and

deceptions.

       235.    By virtue of the foregoing, Xu has violated Section 10(b) of the Exchange Act and

Rule 10b-5 promulgated.

       236.    As a result of Xu’s knowingly false material misrepresentations to induce Plaintiffs

to purchase member units in Dongtai and make Xu President and sole Managing Member and

Plaintiffs reasonable reliance upon Xu’s material misrepresentations, Xu among other things stole,

converted, and misappropriated the funds Plaintiffs invested in Dongtai as well as Plaintiffs’ share

of the profits congruent to their respective member units resulting in damage and harm to Plaintiffs.


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        237.    Plaintiffs’ sustained damages include but are not limited to: loss or threatened loss

of their capital investments; diminishment of their capital investments; devaluation of their

member units; devaluation and threatened loss of Dongtai’s primary asset the Hotel; threatened

loss of the Crowne Plaza brand name; loss of profits and dividends; and loss of economic

opportunities in other investments.

        238.    In sum, as a direct and proximate result of Xu’s wrongful conduct, Plaintiffs

suffered damages in connection with their respective purchases of member units in Dongtai and

the Crowne Plaza Hotel.

                           THIRTEENTH CAUSE OF ACTION
   (Application for Reinstatement of TRO, Temporary and Permanent Injunctive Relief
including Appointment of Temporary Receiver for Dongtai issues in Matter 4:18-CV-4756)
                    (Individually and/or Derivatively on behalf Dongtai)

        239.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 227

as if fully set forth herein.

        240.     In Jiao v. Xu, Case Number 4:18-CV-4756, Plaintiffs (individually and/or

derivatively) sought an immediate order of the Court under FRCP 64, 65 and 66, Chapter 64 of

the TEX. CIV. PRAC. & REM. CODE, and TEX. BUS. & COM. CODE § 24.008 to: 1) remove

Xu as President and Managing Member of Dongtai suspend and remove LCL’s and Xu’s

management authority and ability regarding the affairs of the joint venture including the operation

of the Crowne Plaza Hotel; 2) freeze and seize/attach to LCL’s bank accounts; 3) freeze and

seize/attach to Xu’s and Dongtai’s bank accounts; 4) appoint a temporary receiver for Dongtai to

manage its operations and affairs and appoint/elect a new President and Managing Member; 5)

compel Xu and/or LCL to return whatever funds he/they took from Dongtai and the Joint Venture

create a constructive trust for this purpose; and 6) compel Xu and/or LCL via the funds seized via

                                                 46
a constructive trust to pay any outstanding obligations (including the license fee and associated

costs) to avoid the shutdown of the Crowne Plaza Hotel.

       241.    The Court in matter number 4:18-CV-4756 granted the requested relief. [4:18-CV-

4756-Doc. Nos. 7 and 10]. As such, Plaintiffs seeks reinstatement of Judge Ellison’s Orders in

this matter.

       242.    The general requirements for obtaining both temporary restraining orders and

preliminary injunctions under Rule 65 are the same. See Clark v. Prichard, 812 F.2d 991,993 (5th

Cir. 1987) (“The party seeking such relief must satisfy a cumulative burden of proving each of the

four elements enumerated before a temporary restraining order or preliminary injunction can be

granted.”). Plaintiffs will first address the relief they seek under Rule 65 and will then address the

additional or alternative relief they seek under Rule 64.

       243.    To obtain a preliminary injunction, a plaintiff must establish four elements: 1) a

substantial likelihood that he will prevail on the merits, (2) a substantial threat that he will suffer

irreparable injury if the injunction is not granted, (3) his threatened injury outweighs the threatened

harm to the party whom he seeks to enjoin, and (4) granting the preliminary injunction will not

disserve the public interest. Ponce v. Socorro Indep. Sch. Dist., 508 F.3d 765, 768 (5th Cir. 2007)

(alterations omitted) (internal quotation marks omitted). Plaintiffs satisfy each of these elements.

       A Substantial Likelihood of Success on the Merits

       244.    As demonstrated herein, Plaintiff have shown a substantial likelihood of success on

the merits on all their claims. Nonetheless, Plaintiffs need only satisfy the substantial-likelihood-

of- success-on-the-merits element for some of these claims. See Nichols v. Alcatel USA, Inc., 532

F.3d 364, 378 (5th Cir. 2008) (“Even assuming arguendo that the [movants] have demonstrated a


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substantial likelihood of success on the merits on some and/or all of their claims ….” (emphasis

added)). Further, to satisfy this “element, the plaintiff’s evidence need not prove that plaintiff is

entitled to summary judgment; plaintiff needs only to present a prima facie case, but not

demonstrate that he is certain to win.” Allied Home Mortg. Corp. v. Donovan, 830 F. Supp. 2d

223, 227 (S.D. Tex. 2011). As such, Plaintiffs further highlight the substantial likelihood of

success as to their most pertinent and pressing claims:

                                        Breach of Fiduciary Duty

       245.    Plaintiffs have met the substantial-likelihood-of-success element with regard to

their breach-of-fiduciary-duty claim. Under Texas law, there are three elements of a breach-of-

fiduciary-duty claim: "(1) a fiduciary relationship must exist between the plaintiff and defendant;

(2) the defendant must have breached his fiduciary duty to the plaintiff; and (3) the defendant's

breach must result in jury to the plaintiff or benefit to the defendant." Saenz v. JP Morgan Chase

Bank, N.A., 2013 WL 3280214, at *4 (S.D. Tex. June 27, 2013) (internal quotation marks omitted).

Plaintiffs have established each of these three elements.

       246.    First, as the Bylaws and Operating Agreement Section “Managers’

Responsibilities” demonstrates it is beyond dispute that a fiduciary duty existed between Xu as

President and Managing Member of Dongtai and Plaintiffs. Ex. “4.” Indeed, Plaintiffs placed great

trust in Xu, appointing him as President and Managing Member of Dongtai, permitting him to

manage Dongtai’s operations including managing the Hotel’s operations, authorizing him to make

payments on Plaintiffs’ and Dongtai’s behalf, and giving him great autonomy to act in Plaintiffs’

and Dongtai’s best interests in managing Dongtai. See Jiao Declaration at ¶ 3 to 62.




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        247.    It is beyond reasonable dispute that Xu breached the fiduciary duties owed to

Plaintiffs and Dongtai. Xu used his position of trust not to further the interests of Plaintiffs and

Dongtai, but to enrich his and Defendants’ pockets. See Jiao Declaration at ¶ 3 to 62; VERIFIED

COMPLAINT Paragraphs 1 through 89 and 134 through 151. Indeed, the General Ledger Activity

Detail provided by the CPA demonstrates Xu stole and converted approximately $1,854,169.82

from Dongtai’s bank accounts and credit cards from July 26, 2017 to November 19, 2018. A

majority of these transfers were made to his own companies and for his own use. See Exs. “6,”

“10,” “11,” and “33.”

        248.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief to

save the Hotel. See Jiao Declaration at ¶ 49-62; Exs. “23,” “25,” and “27.” Thus, Plaintiffs have

shown a substantial likelihood of success on the merits of their breach-of-fiduciary-duty claims.

                                                    Fraud

        249.    Plaintiffs also meet the first requirement for their fraud claim. Under Texas law,

there are six elements of fraud: 1) that a material misrepresentation was made; 2) the representation

was false; 3) when the representation was made, the speaker knew that it was false or made it

recklessly without any knowledge of the truth and as a positive assertion; (4) the speaker made the

representation with the intent that the other party should act upon it; (5) the party acted in reliance

on the representation; and (6) the party thereby suffered injury. Aquaplex, Inc. v. Rancho La

Valencia, Inc., 297 S.W.3d 768, 774 (Tex. 2009). Plaintiffs have alleged—with the requisite

particularity required by Federal Rule of Civil Procedure 9(b)—each of these elements, and,

through the exhibits referenced and attached to the Complaint along with the declaration in support

of this motion, Plaintiffs have established a prima facie case that each of these elements is satisfied.


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       250.    Specifically, Xu represented the among other things the following: 1) he would act

in Plaintiffs’ and Dongtai’s best interests; 2) he would pay back the money he “borrowed” from

Plaintiffs and Dongtai; 3) he told Plaintiffs the franchise application fee was $100,000.00; 4) he

told Plaintiffs he would send them their dividend payment; 5) on December 30, 2017 he told

Plaintiffs he would immediately return the $250,000.00 he withdrew from Dongtai’s Hotel bank

account; and 6) he told Jiao Dongtai would pay Jiao for his work at the Hotel. See Jiao Declaration

at ¶ 9-62; Exs. “6,” “7,” “10,” “11,” and “31.”

       251.    Xu representations were false and Xu knew when the representation was made, that

they were false or made it recklessly without any knowledge of the truth and as a positive assertion.

Id.

       252.    Xu made the representations with the intent that Plaintiffs should act upon it, which

Plaintiffs reasonably relied on by: 1) continuing to trust Xu; 2) allowing Xu to operate and manage

Dongtai; 3) making capital contributions to Dongtai to purchase and operate the Hotel; 4)

“loaning” money to Xu to further Dongtai’s legitimate business interests; 5) Jiao continuing to

work for Dongtai; and 6) forgoing legal action due to Xu’s false promises. Id.

       253.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief to

save the Hotel. See Jiao Declaration at ¶ 57-62; Exs. “23,” “25,” and “27.” Thus, Plaintiffs have

shown a substantial likelihood of success on the merits of their fraud claims as well.

                                                Conversion

       254.    Plaintiffs also meet the first requirement for their conversion claims.

       255.    Under Texas law, there are four elements to the claim: (1) Plaintiff owned, had legal

possession of, or was entitled to possession of the property; (2) Defendant assumed and exercised


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dominion and control over the property in an unlawful and unauthorized manner, to the exclusion

of and inconsistent with plaintiff's rights; (3) Plaintiff made a demand for the property; (4)

Defendant refused to return the property. Apple Imports, Inc. v. Koole, 945 S.W.2d 895, 899 (Tex.

App.--Austin 1997, writ denied); see also Whitaker v. Bank of El Paso, 850 S.W.2d 757, 760 (Tex.

App.--El Paso 1993, no writ).

       256.    It is beyond dispute that Defendants intentionally and unlawfully asserted dominion

over Dongtai’s profits, assets when Xu transferred money from Dongtai and the Hotel’s financial

accounts without legally being entitled to use these assets for Defendants’ own benefit and

purposes. Exs. “6,” “7,” “10,” “11,” “24,” and “31.”

       257.     Dongtai’s assets including Plaintiffs’ share of Dongtai’s profits wrongfully taken

by Defendants was Dongtai’s rightful property as well as Plaintiffs through their ownership of

Dongtai. Id.; Jiao Declaration at ¶ 9-62.

       258.     Plaintiffs’ distribution/dividends wrongfully taken by Defendants were Plaintiffs’

rightful property which Plaintiffs are entitled to under the Bylaws and given Dongtai’s profits. Id.

       259.     Dongtai’s assets, Plaintiffs’ shares of Dongtai’s profits and Plaintiffs’

distribution/dividends remains in the possession of the Defendants. Id.

       260.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief to

save the Hotel. See Jiao Declaration at ¶ 57-62; Exs. "23," "25," and "27." Thus, Plaintiffs have

shown a substantial likelihood of success on the merits of their conversion claims as well.

       Irreparable Harm

       261.    To satisfy the second element of the preliminary-injunction standard, a movant

“must demonstrate that if the district court denied the grant of a preliminary injunction, irreparable


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harm would result.” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). It is well-established

that “the mere fact that economic damages may be available does not always mean that a remedy

at law is ‘adequate.’” Id. For example, a “district court may maintain the status quo and issue a

preliminary injunction to protect a remedy, including a damages remedy, when the freezing of the

assets is limited to the property in dispute or its direct, traceable proceeds.” Id. Indeed, a

preliminary injunction, designed to maintain the status quo and protect the damages remedy is an

appropriate form of relief when it is shown that the defendant is likely to be hide funds or be

insolvent at the time of judgment. Teradyne, Inc. v. Mostek Corp., 797 F.2d 43, 52 (1st Cir. 1986)

(citing Deckert v. Independence Shares Corp., 311 U.S. 282 (1940)) see also Tisino v. R&R

Consulting & Coordinating Group, LLC, 478 Fed. Appx. 183, 185-86 (5th Cir. 2012)(allowing

preliminary injunction to restrain assets related to the litigation).

        262.    Here, injunctive relief is needed to prevent Defendants from transferring or

dissipating the millions of dollars they stole from Plaintiffs, and which Plaintiffs seek to recover

in this case. This threat is real and highly probable given Defendants prior and most recent actions

as set forth herein. See Janvey, 647 F.3d at 601 (“The party seeking a preliminary injunction must

also show that the threatened harm is more than mere speculation.”). If Defendants dissipate the

money, Plaintiffs’ equitable remedies will be rendered moot. Id. (“If the defendants were to

dissipate or transfer these assets out of the jurisdiction, the district court would not be able to grant

the effective remedy, either in equity or in law, that the Receiver seeks.”).

        263.    Plaintiffs’ request is narrowly tailored to freezing and seizing the money

Defendants unlawfully obtained from Plaintiffs and Dongtai. Plaintiffs do not seek to freeze

money necessary for Xu to pay for reasonable living expenses during this action.


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       264.    As such, the imposition of a constructive trust from the funds seized from Xu and

LCL are necessary to protect Plaintiffs and save the Hotel.

       265.    Plaintiffs and Dongtai will suffer irreparable harm if Xu is permitted to continue as

Dongtai’s President and Managing Member as Xu will continue to grossly mismanage and loot

Dongtai. See Jiao Declaration at ¶ 57-62; Exs. “23,” “24,” “25,” and “27.”

       266.    If Xu is permitted to continue as Dongtai’s President and Managing Member the

value of Plaintiffs’ units will continue to diminish significantly as will Plaintiffs’ share of

Dongtai’s profits, and Plaintiffs and Dongtai will lose it most valuable asset, the Hotel. Id.

       267.    If Xu is permitted to continue as Dongtai’s President and Managing Member, Xu

will continue to plunder Dongtai for Defendants’ benefit and Dongtai and Plaintiffs will be

irreparably harmed. Id.

       268.    As such, the appointment of a temporary receiver is necessary to help Dongtai

navigate these next few months to avoid insolvency and the loss of its most valuable asset, the

Hotel. See Jiao Declaration at ¶ 57-62.

       269.    Plaintiffs and Dongtai will suffer irreparable harm if Xu is able to access and

withdraw/transfer money from Dongtai’s accounts, LCL’s accounts, and Xu’s personal accounts.

Id.

       270.    If Xu is able to access and withdraw/transfer money from these accounts, Xu will

take and fraudulently transfer these funds to hide or shield them from Plaintiffs and this Court’s

authority. As such, these funds are vital to Dongtai and the Hotel’s continued existence and

without such relief the value of Plaintiffs' units will continue to diminish significantly as will




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Plaintiffs' share of Dongtai's profits, and Plaintiffs and Dongtai will lose it most valuable asset, the

Hotel. Id.

       271.    Plaintiffs and Dongtai will suffer irreparable harm if the Court does not compel Xu

and LCL to immediately return the money he stole, converted, and/or “borrowed” or compel Xu

compel Xu and/or LCL to pay any outstanding obligations as set forth herein (including the license

fee and associated costs) to avoid the shutdown of the Crowne Plaza Hotel. Id.

       The Threatened Injury Outweighs the Threatened Harm

       272.    This element “involves an evaluation of the severity of the impact on defendant

should the temporary injunction be granted and the hardship that would occur to plaintiff if the

injunction should be denied.” 11A CHARLES ALAN WRIGHT ET AL., FEDERAL PRACTICE

AND PROCEDURE § 2948.2 (3d ed. April 2014). Here, Plaintiffs are seeking to: 1) remove Xu

as President and Managing Member to prevent further harm; 2) appoint a temporary receiver to

manage Dongtai through the “storm” Defendants created with their unlawful and unethical actions;

3) prevent Defendants from transferring or dissipating the money Defendants stole, converted and

“borrowed” from Plaintiffs as if Defendants are allowed to transfer or dissipate this money,

Plaintiffs will effectively be left without a remedy; 4) seize the money Defendants stole, converted

and “borrowed” from Plaintiffs and Dongtai and establish a constructive trust so the money can be

used to keep the Hotel running; and 5) compel Defendants to immediately return the money

Defendants stole, converted and “borrowed” from Plaintiffs and Dongtai or compel Defendants to

use said funds to pay the Hotel’s bills as set forth herein to keep the Hotel operational.

       273.    Conversely, maintaining the status quo pending the resolution of this action would

not harm Defendants because relief sought including the money sought to be frozen and seized is


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traceable entirely to Defendants’ scheme, and because Defendants would have access to money

sufficient to provide for reasonable living expenses. As the threatened and continuing injury to

Plaintiffs and Dongtai outweighs the harm that the injunction may cause to Defendants this factor

weighs in favor of Plaintiffs.

       Granting the Preliminary Injunction Will Not Disserve the Public Interest

       274.    Finally, granting the preliminary injunction will not disserve the public interest.

Defendants’ conduct was criminal, fraudulent and unlawful, and providing a remedy to uphold the

law and keep a major Hotel serving the Houston Metro area operational is in the public interest.

See Roviaro v. United States, 353 U.S. 53, 59 (1957) (noting “the public interest in effective law

enforcement”); Daily Instruments Corp. v. Heidt, 998 F. Supp. 2d 553 ¶ 35 (S.D. Tex. 2014) (“[I]t

is in the public interest to uphold contracts and to enforce a remedy that is provided for by Texas

law.”). Thus, if an injunction is issued, it will not adversely affect the public interest.

       No Security Should Be Required

       275.    Rule 65(c) of the Federal Rules of Civil Procedure states that the “court may issue

a preliminary injunction or a temporary restraining order only if the movant gives security in an

amount that the court considers proper to pay the costs and damages sustained by any party found

to have been wrongfully enjoined or restrained.” In the Fifth Circuit, the amount can be nothing.

See Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (“In holding that the amount

of security required pursuant to Rule 65(c) is a matter for the discretion of the trial court, we have

ruled that the court may elect to require no security at all.” (footnote omitted) (internal quotation

marks omitted)); Donovan, 830 F. Supp. at 235 (“The Fifth Circuit has held that courts in this

Circuit have the discretion to issue injunctions without security.”).


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       276.    The Court should not require any security to be posted. Plaintiffs are the victims of

Defendants’ fraudulent scheme, and seek to prevent Defendants from doing further harm, recover

their own money, and keep the Hotel operational by paying the Hotel’s operating costs. In this

circumstance, Plaintiffs submit the Court should use its considerable discretion in ordering that no

security be posted.

       Temporary Restraining Order

       277.    The purpose of Plaintiffs application for a TRO and temporary injunctionis to

maintain the status quo by keeping the Hotel operational.

       278.    The Court “may issue a temporary restraining order without written or oral notice

to the adverse party or its attorney only if” “specific facts in an affidavit … clearly show that

immediate and irreparable injury, loss, or damage will result to the movant before the adverse party

can be heard in opposition” and “the movant’s attorney certifies in writing any efforts made to

give notice and the reasons why it should not be required.” FED. R. CIV. P. 65(b).

       279.    A temporary restraining order “should be limited to preserving the status quo only

as long as necessary to hold a preliminary injunction hearing.” Rio Bravo Produce, Ltd. v. Superior

Tomato-Avocado, Ltd., 2011 WL 6938450, at *2 (W.D. Tex. Dec. 30, 2011); WRIGHT ET AL.,

supra, § 2948.3 (“The [temporary restraining] order is designed to preserve the status quo until

there is an opportunity to hold a hearing on the application for a preliminary injunction and may

be issued with or without notice to the adverse party.”) (emphasis added).

       280.    Here reinstating the Judge Ellison’s TRO, Preliminary Injunctive Order and Order

making Michael Udayan Dongtai’s temporary receiver preserves the status quo. [4:18-CV-4756-

Docs. No. 7 and 10]


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       281.    The Fifth Circuit has held "[a] temporary restraining order is a 'stay put,' equitable

remedy that has as its essential purpose the preservation of the status quo while the merits of the

cause are explored through litigation." Foreman, 193 F.3d at 323.

       282.    As shown above and herein, Plaintiffs have satisfied these requirements as well as

all the elements for a temporary restraining order to be entered. Indeed, the TRO is necessary and

justified to maintain the status quo; the continued operation of the Hotel by meeting its financial

obligations which it was not able to do as a direct result of Defendants’ conduct, preserving

Plaintiffs assets and the money Xu stole, and actions as set forth herein.

       283.    Plaintiffs have a serious, cogent, and legitimate concern that if a temporary

restraining order reinstating the Preliminary Injunction is not entered, Defendants will immediately

seek to transfer or further dissipate the money from their and Dongtai’s accounts.

       284.    As such, Plaintiffs pray that the Court take the necessary action to preserve the

status quo and grant its application for TRO to reinstate the Court’s Preliminary Injunction and

Order to Appoint Dongtai’s receiver as this injunctive relief will allow the Hotel to continue to

operate and preserve the funds Xu stole.

       Permanent Injunction

       285.    For the reasons stated herein and as articulated in the Court’s Order granting

temporary injunctive relief [4:18-CV-4756-Doc. No. 7], Plaintiffs are entitled to permanent

injunctive relief and pray the Court enters an order making the temporary injunctive relief

permanent.




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                            FOURTEENTH CAUSE OF ACTION
        (Application for TRO, Temporary and Permanent Injunctive Relief including
        Appointment of Temporary Receiver for Dongtai which is the same
                      as Judge Ellison granted in 4:18-CV-4756)
                  (Individually and/or Derivatively on behalf Dongtai)

        286.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 274

as if fully set forth herein.

        287.    If the Court denies reinstatement of Judge Ellison’s Order for Temporary Injunction

and Order to Appoint Receiver as requested here, Plaintiffs alternatively apply to the Court for the

same relief in this new matter.

        288.    Specifically, as in matter number 4:18-CV-4756, Plaintiffs (individually and/or

derivatively) in this new matter move and apply for an immediate order of the Court under FRCP

64, 65 and 66, Chapter 64 of the TEX. CIV. PRAC. & REM. CODE, and TEX. BUS. & COM.

CODE § 24.008 to: 1) remove Xu as President and Managing Member of Dongtai suspend and

remove LCL’s and Xu’s management authority and ability regarding the affairs of the joint venture

including the operation of the Crowne Plaza Hotel; 2) freeze and seize/attach to LCL’s bank

accounts; 3) freeze and seize/attach to Xu’s and Dongtai’s bank accounts; 4) appoint a temporary

receiver for Dongtai to manage its operations and affairs and appoint/elect a new President and

Managing Member; 5) compel Xu and/or LCL to return whatever funds he/they took from Dongtai

and the Joint Venture create a constructive trust for this purpose; and 6) compel Xu and/or LCL

via the funds seized via a constructive trust to pay any outstanding obligations (including the

license fee and associated costs) to avoid the shutdown of the Crowne Plaza Hotel.




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        289.    The reasons for the requested relief are the same as set forth in Paragraphs 207

through 253 and are hereby incorporated and adopted into this cause of action and application to

streamline this pleading and application.

        290.    For the reasons stated herein, Plaintiffs pray this Court adopts and duplicates Judge

Ellison’s Orders for Preliminary Injunctive Relief and Motion to Appoint Receiver.

        291.    Additionally, for the reasons set forth herein Plaintiffs pray that the Court add to

the Orders the following: 1) Xu is to preserve all documents relevant to this action; 2) Xu is not to

engage in any fraudulent transfers from any of his personal and business financial accounts; 3) Xu

is not to hide any of his personal and business assets from Plaintiffs and the Court; and 4) Xu is

not to interfere in Dongtai’s and the Hotel’s operations.

                          FIFTHTEENTH CAUSE OF ACTION
(Application for Temporary and Permanent Injunctive Relief to Compel and Enjoin Xu as
                      to Certain Actions Involving Dongtai Shares)
                   (Individually and/or Derivatively on behalf Dongtai)

        292.    Plaintiffs reallege and reassert all allegations contained in paragraphs 1 through 280

as if fully set forth herein.

        293.    Plaintiffs seek an immediate order of the Court under FED. R. CIV. P. 64 and 65,

Chapter 64 of the TEX. CIV. PRAC. & REM. CODE, and TEX. BUS. & COM. CODE § 24.008

to obtain immediate temporary and permanent injunctive relief from this Court: 1) compelling Xu

to surrender to Dongtai the units he did not purchase; 2) invalidating Xu’s current unit

certificate(s), calculating Xu’s units adjusted on a pro-rata basis based on the amount actually paid

by Xu for said units and to order the issuance of new certificates Xu evidencing the actual member

units Xu purchased; and 3) enjoining Xu from purchasing the shares he failed to make payment

for and/or allow the current shareholders to decide by a majority vote as to how to address and

                                                 59
distribute the outstanding (unpurchased) member units. Such relief is available via an injunction

upon an appropriate showing that the requirements for an injunction are met. See, e.g., Hsien-Chi-

Su v. Vantage Drilling Co., 474 S.W.3d 284 (Tex. Ct. App., Houston Div.)(upholding injunction

preventing transfer of shares); Miller v. K&M Partnership, 770 S.W.2d 84, 87 (Tex. Ct. App.,

Houston Div. 1989)(upholding order preventing defendant from transferring or encumbering

shares).

       294.     The general requirements for obtaining both temporary restraining orders and

preliminary injunctions are set forth in paragraphs 207 through 253 above and incorporated herein

by reference.

       A Substantial Likelihood of Success on the Merits

       295.     As demonstrated herein, Plaintiff have shown a substantial likelihood of success on

the merits on all their claims. Nonetheless, Plaintiffs need only satisfy the substantial-likelihood-

of- success-on-the-merits element for some of these claims. See Nichols v. Alcatel USA, Inc., 532

F.3d 364, 378 (5th Cir. 2008) (“Even assuming arguendo that the [movants] have demonstrated a

substantial likelihood of success on the merits on some and/or all of their claims ….” (emphasis

added)). Further, to satisfy this “element, the plaintiff’s evidence need not prove that plaintiff is

entitled to summary judgment; plaintiff needs only to present a prima facie case, but not

demonstrate that he is certain to win.” Allied Home Mortg. Corp. v. Donovan, 830 F. Supp. 2d

223, 227 (S.D. Tex. 2011). As such, Plaintiffs further highlight the substantial likelihood of

success as to their most pertinent and pressing claims:




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                                       Breach of Fiduciary Duty

       296.    Plaintiffs have met the substantial-likelihood-of-success element with regard to

their breach-of-fiduciary-duty claim. Under Texas law, there are three elements of a breach-of-

fiduciary-duty claim: "(1) a fiduciary relationship must exist between the plaintiff and defendant;

(2) the defendant must have breached his fiduciary duty to the plaintiff; and (3) the defendant's

breach must result in jury to the plaintiff or benefit to the defendant." Saenz v. JP Morgan Chase

Bank, N.A., 2013 WL 3280214, at *4 (S.D. Tex. June 27, 2013) (internal quotation marks omitted).

Plaintiffs have established each of these three elements.

       297.    First, as the Bylaws and Operating Agreement Section “Managers’

Responsibilities” demonstrates it is beyond dispute that a fiduciary duty existed between Xu as

President and Managing Member of Dongtai and Plaintiffs. Ex. “4.” Indeed, Plaintiffs placed great

trust in appointing Xu as President and Managing Member of Dongtai, permitting him to manage

Dongtai’s operations including managing the Hotel’s operations, authorizing Xu to make

payments on Plaintiffs’ and Dongtai’s behalf, and giving him great autonomy to act in Plaintiffs’

and Dongtai’s best interests in managing Dongtai. See Jiao Declaration at ¶ 3 to 62.

       298.    It is beyond reasonable dispute that Xu breached the fiduciary duties owed to

Plaintiffs and Dongtai. Xu used his position of trust not to further the interests of Plaintiffs and

Dongtai, but to enrich his and Defendants’ pockets. See Jiao Declaration at ¶ 3 to 62; Nguyen

Declaration with attached Accounting Report.         Indeed, the General Ledger Activity Detail

provided by the CPA demonstrates Xu stole and converted approximately $1,854,169.82 from

Dongtai’s bank accounts and credit cards from July 26, 2017 to November 19, 2018. A majority




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of these transfers were made to his own companies and for his own use. See Exs. “6,” “10,” “11,”

“33,” “40,” and “41.”

         299.   Significantly, Xu paid only $750,000.00 out of the $3 million he agreed to pay for

his member units. See Nguyen Declaration with attached Accounting Report; Ex. 4. Moreover,

Xu took his $750,000.00 contribution back (and then some) and effectively nullified any “partial

performance” Xu may have had for his units. See Nguyen Declaration with attached Accounting

Report; Exs. “40” and 41.”

         300.   As such, Dongtai and Plaintiffs have been harmed and require immediate relief so

that Xu cannot interfere in Dongtai’s operations as a Dongtai member as Xu has not paid for his

member units as Dongtai’s books and records and the recently obtained ATOC documents

demonstrate, Xu only contributed $750,000.00 ($2.25 million short) while misappropriating

$1,335,561.97. Id.; see also Jiao Declaration at ¶ 49-62; Exs. “23,” “25,” and “27.”

         301.   Additionally, Plaintiffs need to raise capital with the shares Xu wrongfully and

fraudulently obtained as Dongtai is $3 million dollars short. Moreover, Plaintiffs need to pass

measures and amend Dongtai’s corporate documents to prevent this situation from ever happening

again.    Thus, Plaintiffs have shown a substantial likelihood of success on the merits of their

breach-of-fiduciary-duty claims.

                                                  Fraud

         302.   Plaintiffs also meet the first requirement for their fraud claim. Under Texas law,

there are six elements of fraud: 1) that a material misrepresentation was made; 2) the representation

was false; 3) when the representation was made, the speaker knew that it was false or made it

recklessly without any knowledge of the truth and as a positive assertion; (4) the speaker made the


                                                 62
representation with the intent that the other party should act upon it; (5) the party acted in reliance

on the representation; and (6) the party thereby suffered injury. Aquaplex, Inc. v. Rancho La

Valencia, Inc., 297 S.W.3d 768, 774 (Tex. 2009). Plaintiffs have alleged—with the requisite

particularity required by Federal Rule of Civil Procedure 9(b)—each of these elements, and,

through the exhibits referenced and attached to the Complaint along with the declaration in support

of this motion, Plaintiffs have established a prima facie case that each of these elements is satisfied.

        303.    Specifically, Xu represented among other things the following: 1) he would act in

Plaintiffs’ and Dongtai’s best interests; 2) he would pay back the money he “borrowed” from

Plaintiffs and Dongtai; 3) he told Plaintiffs the franchise application fee was $100,000.00; 4) he

told Plaintiffs he would send them their dividend payments; 5) on December 30, 2017 he told

Plaintiffs he would immediately return the $250,000.00 he withdrew from Dongtai’s Hotel bank

account; 6) he would pay for his member units; and 7) he was a shareholder of Dongtai. See Jiao

Declaration at ¶ 9-62; Exs. “6,” “7,” “10,” “11,” and “31.”

        304.    Xu representations were false and Xu knew when the representation was made, that

they were false or made it recklessly without any knowledge of the truth and as a positive assertion.

Id.

        305.    Xu made the representations with the intent that Plaintiffs should act upon it, which

Plaintiffs reasonably relied on among other things by: 1) continuing to trust Xu; 2) allowing Xu

to operate and manage Dongtai; 3) purchasing member units in Dongtai; 4) making capital

contributions to Dongtai to purchase and operate the Hotel; 5) “loaning” money to Xu to further

Dongtai’s legitimate business interests; and 6) forgoing legal action due to Xu’s false promises.

Id.


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       306.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief to

prevent Xu from interfering in Dongtai and the Hotel’s business and operations, and to raise capital

to comply with IHG’s (owner of the Crown Plaza franchise) requirements for hotel remodeling

and renovations to keep the Crown Plaza brand name. Thus, Plaintiffs have shown a substantial

likelihood of success on the merits of their fraud claims as well.

                                      Federal Securities Fraud

       307.    Rule 10b-5 implements section 10(b) of the 1934 Act and makes it unlawful for

any person, directly or indirectly: (a) To employ any device, scheme, or artifice to defraud, (b) To

make any untrue statement of a material fact or to omit to state a material fact necessary in order

to make the statements made, in the light of the circumstances under which they were made, not

misleading, or (c) To engage in any act, practice, or course of business which operates or would

operate as a fraud or deceit upon any person, in connection with the purchase or sale of any

security. 17 C.F.R. § 240.10b-5(b).

       308.    The overwhelming evidence (Exs. 1 to 43, Jiao’s Declaration and Nguyen

Declaration with attached Accounting Report) demonstrates Xu carried out a plan, scheme, and

course of conduct that was intended to, and did (i) deceive Plaintiffs, as alleged herein; and (ii)

cause Plaintiffs to purchase member units and interests in Dongtai. In furtherance of this unlawful

scheme, Xu took the actions set forth hereinabove.

       309.    Xu’s primary liability arises from the following facts, among others: (i) he was at

all relevant times the sole managing member of and high-level officer within Dongtai in the

scheme to sell foreign investors membership units in Dongtai and/or in the Crowne Plaza Hotel;

(ii) Xu, by virtue of his responsibilities and activities as sole-managing member of Dongtai,


                                                 64
perpetuated his scheme to have Plaintiffs without Plaintiffs’ knowledge of Xu’s willful deceit

purchase Xu’s member units, hide his fraudulent scheme by providing Plaintiffs with a fake HUD-

settlement statement for the Hotel’s closing, embezzle the funds Plaintiffs contributed to the

company, and embezzle the profits from Plaintiffs’ membership units; and (iii) Xu’s knew or

recklessly disregarded the materially false and misleading representations Xu made to Plaintiffs in

order to entice and defraud Plaintiffs to invest in Dongtai and continue to contribute money for the

Crowne Plaza Hotel. See (Exs. 1 to 43, Jiao’s Declaration and Nguyen Declaration with attached

Accounting Report).

       310.    Prior to forming Dongtai, Xu made many material representations to XJ, ZY, and

PZ to induce them to investing and forming Dongtai. Xu communicated to Plaintiffs via telephone,

mail, email, and/or the App WeChat many promises and assurances including, but not limited to:

a) the proposal for funding Dongtai through each members’ purchase of member units; b) Xu

would contribute $3,000,000 as his capital contribution in exchange for 50% stake in the LLC; c)

Dongtai’s profits would be distributed on a pro rata basis; d) that Dongtai’s funds would be used

solely for Dongtai’s business purpose in purchasing and operating the Crowne Plaza Hotel; and d)

that as President and sole Managing Member, Xu would carry out his duties as delineated in the

Bylaws (Ex. “4”) including but not limited to ensuring that Dongtai’s financial obligations were

timely satisfied to avoid defaults and filing accurate and timely tax returns for the company. See

(Exs. 1 to 43, Jiao’s Declaration and Nguyen Declaration with attached Accounting Report).

       311.    Xu had actual knowledge of the misrepresentations and omissions of material facts

set for herein, or acted with severely reckless disregard for the truth as set forth herein, in that Xu

failed to ascertain and disclose such facts, even though Xu knew these facts.


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       312.    Xu’s material misrepresentations and/or omissions were done knowingly or with

deliberate recklessness and for the purpose and effect of inducing Plaintiffs to invest and

concealing information regarding Dongtai and the Crowne Plaza Hotel’s true status as a façade

and vehicle for massive fraud and conversion for Xu’s sole benefit. See (Exs. 1 to 43, Jiao’s

Declaration and Nguyen Declaration with attached Accounting Report).

       313.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief

and Plaintiffs have shown a substantial likelihood of success on the merits of their federal

securities claim as well.

                                               Conversion

       314.    Plaintiffs also meet the first requirement for their conversion claims.

       315.    Under Texas law, there are four elements to the claim: (1) Plaintiff owned, had legal

possession of, or was entitled to possession of the property; (2) Defendant assumed and exercised

dominion and control over the property in an unlawful and unauthorized manner, to the exclusion

of and inconsistent with plaintiff's rights; (3) Plaintiff made a demand for the property; (4)

Defendant refused to return the property. Apple Imports, Inc. v. Koole, 945 S.W.2d 895, 899 (Tex.

App.--Austin 1997, writ denied); see also Whitaker v. Bank of El Paso, 850 S.W.2d 757, 760 (Tex.

App.--El Paso 1993, no writ).

       316.    It is beyond dispute that Defendants intentionally and unlawfully asserted dominion

over Dongtai’s profits, assets when Xu transferred money from Dongtai and the Hotel’s financial

accounts without legally being entitled to use these assets for Defendants’ own benefit and

purposes. Exs. “6,” “7,” “10,” “11,” “24,” and “31.”




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       317.     Dongtai’s assets including unpaid for Dongtai member units along with Plaintiffs’

share of Dongtai’s profits wrongfully taken by Defendants was Dongtai’s rightful property as well

as Plaintiffs through their ownership of Dongtai. Id.; Jiao Declaration at ¶ 9-62.

       318.     Dongtai’s member units and Plaintiffs’ distribution/dividends wrongfully taken by

Defendants were Plaintiffs’ rightful property which Plaintiffs are entitled to under the Bylaws and

given Dongtai’s profits. Id.

       319.     Dongtai’s assets and member units, Plaintiffs’ shares of Dongtai’s profits and

Plaintiffs’ distribution/dividends remains in the possession of the Defendants. Id.

       320.    As such, Dongtai and Plaintiffs have been harmed and require immediate relief to

save the Hotel. See Jiao Declaration at ¶ 57-62; Exs. "23," "25," and "27." Thus, Plaintiffs have

shown a substantial likelihood of success on the merits of their conversion claims as well.

       Irreparable Harm

       321.    To satisfy the second element of the preliminary-injunction standard, a movant

“must demonstrate that if the district court denied the grant of a preliminary injunction, irreparable

harm would result.” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). It is well-established

that “the mere fact that economic damages may be available does not always mean that a remedy

at law is ‘adequate.’” Id. For example, a “district court may maintain the status quo and issue a

preliminary injunction to protect a remedy, including a damages remedy, when the freezing of the

assets is limited to the property in dispute or its direct, traceable proceeds.” Id. Indeed, a

preliminary injunction, designed to maintain the status quo and protect the damages remedy is an

appropriate form of relief when it is shown that the defendant is likely to be hide funds or be




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insolvent at the time of judgment. Teradyne, Inc. v. Mostek Corp., 797 F.2d 43, 52 (1st Cir. 1986)

(citing Deckert v. Independence Shares Corp., 311 U.S. 282 (1940)).

          322.   Here, injunctive relief is needed to retrieve Dongtai’s shares from Xu that Xu stole

so Plaintiffs can raise much needed capital for required renovations and remodeling to comply

with IHG’s standards; prevent Defendants from interfering in Dongtai and the Hotel’s operations

and business; and revise and amend Dongtai’s corporate documents to protect Plaintiffs’ interests.

This threat is real and highly probable given Defendants prior and most recent actions as set forth

herein. See Janvey, 647 F.3d at 601 (“The party seeking a preliminary injunction must also show

that the threatened harm is more than mere speculation.”). If Defendants interfere and Xu is

allowed to vote as a 50% member in member meetings (even though he has no untis) Plaintiffs

may lose the IHG brand as Dongtai is short $3 million dollars which Plaintiffs thought Dongtai

had when they purchase their shares and entered the joint venture to purchase the Hotel.

          323.   Plaintiffs’ request is narrowly tailored to Xu’s shares and the documentation of said

shares.

          324.   Plaintiffs and Dongtai will suffer irreparable harm if Xu is permitted to continue as

Dongtai’s shareholder as he will purposefully interfere and further scheme to loot from Plaintiffs

and Dongtai. See Exs. “40” and “41.” See generally Jiao Declaration at ¶ 57-62; Exs. “23,” “24,”

“25,” and “27.”

          325.   If Xu is permitted to continue as shareholder, Xu’s interference and ability to veto

Plaintiffs proposed actions for the betterment of Dongtai will diminish the value of Plaintiffs’ units,

will continue to diminish significantly as will Plaintiffs’ share of Dongtai’s profits, and Plaintiffs




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and Dongtai will lose it most valuable asset, the Hotel if the renovations are not timely

accomplished.

       326.     Plaintiffs and Dongtai will suffer irreparable harm if the Court does not compel Xu

and LCL to immediately return the shares he stole, converted, and/or “borrowed” or enjoin Xu

from interfering in Dongtai and the Hotel’s operations and business.

       The Threatened Injury Outweighs the Threatened Harm

       327.     This element “involves an evaluation of the severity of the impact on defendant

should the temporary injunction be granted and the hardship that would occur to plaintiff if the

injunction should be denied.” 11A CHARLES ALAN WRIGHT ET AL., FEDERAL PRACTICE

AND PROCEDURE § 2948.2 (3d ed. April 2014). Here, Plaintiffs are seeking to: 1) compel Xu

to surrender to Dongtai the units he did not purchase; 2) invalidate Xu’s current unit certificate(s),

calculate Xu’s units adjusted on a pro-rata basis based on the amount actually paid by Xu for said

untits and to order the issuance of new certificates Xu evidencing the actual member units Xu

purchased; and 3) enjoin Xu from purchasing the shares he failed to make payment for and/or

allow the current shareholders to decide by a majority vote as to how to address and distribute the

outstanding (unpurchased) member units.

       328.     Conversely, maintaining the status quo pending the resolution of this action would

not harm Defendants because Xu never had shares to begin with, and at bottom, the Court can put

into escrow the member units Xu actually paid for as at least this would allow the other

shareholders to get things done without Xu’s interference As the threatened and continuing injury

to Plaintiffs and Dongtai outweighs the harm that the injunction may cause to Defendants this

factor weighs in favor of Plaintiffs.


                                                 69
       Granting the Preliminary Injunction Will Not Disserve the Public Interest

       329.    Finally, granting the preliminary injunction will not disserve the public interest.

Defendants’ conduct was criminal, fraudulent and unlawful, and providing a remedy to uphold the

law and keep a major Hotel serving the Houston Metro area operational is in the public interest.

See Roviaro v. United States, 353 U.S. 53, 59 (1957) (noting “the public interest in effective law

enforcement”); Daily Instruments Corp. v. Heidt, 998 F. Supp. 2d 553 ¶ 35 (S.D. Tex. 2014) (“[I]t

is in the public interest to uphold contracts and to enforce a remedy that is provided for by Texas

law.”). Thus, if an injunction is issued, it will not adversely affect the public interest.

       No Security Should Be Required

       330.    Rule 65(c) states that the “court may issue a preliminary injunction or a temporary

restraining order only if the movant gives security in an amount that the court considers proper to

pay the costs and damages sustained by any party found to have been wrongfully enjoined or

restrained.” In the Fifth Circuit, the amount can be nothing. See Kaepa, Inc. v. Achilles Corp., 76

F.3d 624, 628 (5th Cir. 1996) (“In holding that the amount of security required pursuant to Rule

65(c) is a matter for the discretion of the trial court, we have ruled that the court may elect to

require no security at all.” (footnote omitted) (internal quotation marks omitted)); Donovan, 830

F. Supp. at 235 (“The Fifth Circuit has held that courts in this Circuit have the discretion to issue

injunctions without security.”).

       331.    The Court should not require any security to be posted. Plaintiffs are the victims of

Defendants’ fraudulent scheme, and seek to prevent Defendants from doing further harm, recover

their own money, and keep the Hotel operational by paying the Hotel’s operating costs. In this




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circumstance, Plaintiffs submit the Court should use its considerable discretion in ordering that no

security be posted.

       Permanent Injunction

       332.    For the reasons stated herein, Plaintiffs are entitled to permanent injunctive relief

and pray the Court enters an order making the temporary injunctive relief permanent.

                                     CONDITIONS PRECEDENT

       333.    All conditions precedent to Plaintiffs’ rights of recovery have been performed or

are excused.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment including the following against Defendants:

        1.     For immediate reinstatement of Judge Ellison’s Preliminary Injunction Order in
Jiao v. Xu, Case Number 4:18-CV-4756;

     2.        Immediate injunctive relief to remove Xu as Dongtai’s President and Managing
Member;

        3.     For immediate injunctive relief to prohibit Xu from accessing and conducting any
transactions with all Dongtai bank accounts and to freeze LCL’s bank accounts and Xu’s personal
bank accounts to prevent fraudulent transfers;

       4.      For immediate injunctive relief to appoint a receiver of Dongtai to manage Dongtai
and elect a new President and Managing Member;

        5.      For monetary damages caused as a direct and proximate result of Defendants’ prior
refusal to provide access to Dongtai’s books and records;

        6.      For immediate injunctive relief ordering: 1) Xu is to preserve all documents
relevant to this action; 2) Xu is not to engage in any fraudulent transfers from any of his personal
and business financial accounts; 3) Xu is not to hide any of his personal and business assets from
Plaintiffs and the Court; and 4) Xu is not to interfere in Dongtai’s and the Hotel’s operations

        7.     For declaratory relief from this Court declaring: 1) Xu did not make a capital
contribution of $3,000,000.00 as he was contractually obligated to do so to obtain 50% member
units of Dongtai; 2) Xu must surrender to Dongtai the units he did not purchase; and 3) the

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amount of shares Xu actually has must be adjusted accordingly as Xu took back his $750,000.00
contribution and stole $1,335,561.97 from Plaintiffs;

        8.      Immediate and permanent injunctive relief from this Court to: 1) compel Xu to
surrender to Dongtai the units he did not purchase; 2) invalidate Xu’s current unit certificate(s),
calculate Xu’s units adjusted on a pro-rata basis based on the amount actually paid by Xu for
said untits and to order the issuance of new certificates Xu evidencing the actual member units
Xu purchased; and 3) enjoin Xu from purchasing the shares he failed to make payment for and/or
allow the current shareholders to decide by a majority vote as to how to address and distribute
the outstanding (unpurchased) member units;

      9.     For monetary damages caused as a direct and proximate result of Defendants’
misconduct and wrongful actions;

      10.      For exemplary damages given Defendants’ egregious, willful and wanton
conduct;

        11.     Any other specific relief alleged herein, including costs and attorney fees incurred
in bringing this action;

       12.     Pre- and post-judgment interest on all damages as allowed by law; and

       13.     Such other and further relief as this Court deems reasonable and just.



       DATED this 10th day of June, 2019.

                                                      Respectfully submitted,

                                                      NGUYEN CHEN LLP


                                                  By: /s/ Brian M. Gargano
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